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                 EXHIBIT 1
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                          EXPERT REPORT OF DAVID KALAT


       Pursuant to 28 U.S.C. § 1746, I, David Kalat, hereby declare as follows:


I. QUALIFICATIONS

1. I am a Director at Berkeley Research Group, LLC (“BRG”), a leading global strategic advisory

   and expert services firm that provides independent expert testimony, litigation support, data

   analytics and other services to major law firms, Fortune 500 corporations, government

   agencies, and regulatory bodies around the world. I am a member of the firm’s Global

   Investigations + Strategic Intelligence practice group. I lead investigations involving data

   analytics and forensic computer examinations. I joined BRG in April 2015. Prior to joining

   BRG, I was a Director with Duff & Phelps, LLC (“D&P”), an independent consulting firm of

   over 1,000 professionals, where I was a member of the Forensic Technology & Analytics

   practice for four years. My Curriculum Vitae is set forth as Exhibit A, and lists my publications

   and prior testimony.

2. I received my Bachelor of Arts in Film and Video Studies from the University of Michigan

   and graduated as a James B. Angell Scholar. I received my Masters Degree in Library and

   Information Science from the University of Illinois at Urbana-Champaign.

3. I am certified by the International Society of Forensic Computer Examiners (ISFCE) as a

   Certified Computer Examiner (license number 1666). I am also licensed by the International

   Information System Security Certification Consortium ((ISC)2) as a Certified Information

   Systems Security Professional (license number 593527). I am a Certified Telecommunications

   Analyst. I am a Certified Fraud Examiner (license number 621469). I am a licensed Private

   Detective in the states of Illinois (license number 115.002487) and Texas (license number

   52430601).

4. I am a non-fiction author with a focus on the history of information technology. My monthly

   column “Nervous System” at Legal Tech News, for example, approaches issues of data privacy

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   and cybersecurity from a historical context.

5. I am a specialist in digital video with extensive professional experience in the field of film and

   video technology.

               a. Colorlab (1992-1993) My duties included color grading, the process of

                   photochemically enhancing the color of motion picture film.

               b. Aesthetic Productions (1994-1995) As the head of the company’s video

                   production unit, my duties included all aspects of creating and finalizing

                   television ads for local clients and other for-hire video production.

               c. Interface Media Group/DC Post (1996-1997) As Operations Manager of the

                   mid-Atlantic region’s oldest video post-production facility, I was responsible

                   for supervising all aspects of the company’s services, including film-to-tape

                   transfer; linear and non-linear editing; video graphics; audio sweetening; and

                   satellite distribution. Clients included the Bill Clinton and Bob Dole

                   Presidential campaigns, Discovery Channel’s Shark Week, and National

                   Geographic.

               d. All Day Entertainment (1997-2008) I was the founder and President of an

                   independent DVD publishing label dedicated to arthouse, independent, and

                   classic movies. I personally conducted the digital restoration of numerous

                   motion pictures for commercial release on All Day’s DVD label.

               e. I have also served as a freelance consultant to other media companies including

                   Turner Classic Movies, the Criterion Collection, Kino-Lorber, Class Media,

                   Eureka’s Masters of Cinema, and Arrow Video, including the creation of digital

                   video content. Motion pictures that I helped restore on digital video have been

                   screened on Turner Classic Movies.

6. I have served as a forensic examiner of digital video evidence in numerous matters, including


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    Kolodziej v. Justice Park District, et al., 2014 L 775 (Cook Cnty. Cir. Ct., 2014), in which I

    provided jury trial testimony regarding my examination of surveillance video in a wrongful

    death matter. I have also served as a forensic examiner of digital video evidence in other

    matters for which my consulting was not publicly disclosed. Such investigations included the

    examination of videos recorded by DVR surveillance systems, police dashcams, TASERs,

    hidden cameras, and other video recording devices.

7. My present established hourly rate of $580 is based upon my experience, reputation, ability

    and skill to perform the services properly and the fees customarily charged in the Chicagoland

    Area for such services by similarly qualified forensic experts.

II. FACTUAL BACKGROUND

8. The website CryptoLeaks.com has a page titled “Case #3 Ava Labs, Avalanche and Roche

    Freedman.”1 The page carries a publication byline of August 26, 2022, updated August 31,

    2022.2 This webpage contains content that concerns Kyle Roche and his former law firm Roche

    Freedman. Embedded within the text, the webpage includes links to twenty-five (25) video

    clips purporting to provide illustrative evidence. The CryptoLeaks website describes the videos

    as “spy videos,” and my observation of the recordings corroborates that Mr. Roche was not

    aware of being recorded. Exhibit C sets forth a list of the twenty-five video clips (“Spy

    Videos”).

9. The Spy Videos collectively total approximately 12.7 minutes in all.

10. The Spy Videos can be classified into two distinct categories. The first set of sixteen (16)

    videos appear to have been recorded in an office or conference room (the “Office Videos”),

    and the second set of nine (9) videos appear to have been recorded in a restaurant (the

    “Restaurant Videos”).

1
  See https://cryptoleaks.info/case-no-3. A PDF copy of this page is set forth as Exhibit B.
2
  I visited the archived copies of this URL that are preserved at archive.org’s “Wayback Machine” and observed
that the earliest copy of that page available at the Wayback Machine was captured in August 26, 2022,
corroborating the publication date.

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11. As detailed below, there are a variety of means by which to alter video recordings in ways that

   can change their content, meaning, and/or interpretation. Video manipulation can be difficult

   to detect.

12. The best and most reliable method for establishing the authenticity of video evidence is to

   verify the complete chain of custody for any questioned video, from the original recording and

   the device or equipment used to create it, and for each and any subsequent processing step

   involved. In a forensic investigation of electronic evidence, it is best practice to conduct the

   analysis on the original suspect data, obtained and preserved from its source whenever

   possible. The ideal scenario would involve access to the original unedited video recordings

   taken at the two meetings with Mr. Roche, the recording device or camera used to create them,

   and the computer(s) used to generate the clips published on CryptoLeaks. This would enable

   (i) the forensic comparison of the metadata in the original recordings to the published versions,

   (ii) identification of the distinctive characteristics of the camera and its imaging devices, and

   (iii) cross-referencing relevant system artifacts on the computer, in order to come to a

   conclusion about whether the published videos are an authentic and reliable representation of

   what occurred at the meetings.

13. In this instance, the original hidden camera recordings are not provided by CryptoLeaks.

14. I conducted a forensic review of the published videos, with special focus on the nine Restaurant

   Videos. As set forth in detail below, I conclude that these videos exhibit extensive signs of

   tampering and manipulation and cannot be accepted as reliable or authentic documents of what

   was said at those meetings.

15. In part, my conclusions are based on highly anomalous characteristics that are distinctive to

   the Restaurant Videos, when compared to the Office Videos and other so-called “spy videos”

   published by CryptoLeaks. One such video that I relied on for comparisons is published at

   https://cryptoleaks.info/case-no-2 and purports to be a secret recording of a person named Nick


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   Longo. I preserved and analyzed the Nick Longo video entitled “nl-1.mp4” according to the

   same procedures and methodology as the Kyle Roche Spy Videos.

III. METHODOLOGY AND TOOLS

16. I collected and preserved the twenty-five Spy Videos, as described below. In my review of the

   CryptoLeaks webpage, I observed that videos can be downloaded directly from the site, as

   shown below:




17. I downloaded the twenty-five videos described in Exhibit B, first using this built-in download

   functionality provided by the site, and then again using 4KDownloader. The software

   application 4KDownloader is a tool I have used frequently in my capacity as a professional

   investigator in order to preserve suspect videos from websites. After doing so, I compared the

   MD5 hashes of each downloaded video to confirm that both methods result in identical




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    downloads.3

18. I used FTK Imager to forensically preserve the downloaded videos as a logical forensic image

    and archived that copy for safekeeping. As I conducted my analysis described herein, I relied

    on the MD5 hashes taken upon download to verify that my examination did not alter any video.

19. In conducting my analysis, as described below, I created additional copies and derivative

    excerpts from the Spy Videos that were altered in intentional, controlled ways. To create these

    derived copies, I used the software application AVIDemux. This is a tool I have used frequently

    both in my capacity as a professional investigator and in my professional experience creating

    digital video content for commercial use.

20. In conducting my analysis, I examined the Spy Videos and the derived copies using several

    tools. For examination of videos, including frame-by-frame analysis, I used the playback utility

    Keyframe MP2. For examination of audio waveforms, I used Audacity. Keyframe MP2 and

    Audacity are software tools I have used frequently both in my capacity as a professional

    investigator and in my professional experience creating digital video content for commercial

    use. For Video Error Level Analysis, I used the forensic utility VideoCleaner, a software tool

    I have used frequently in my capacity as a professional investigator.

IV. TECHNICAL CONSIDERATIONS REGARDING DIGITAL VIDEO

21. The quality, clarity, and fidelity of digital videos (such as the Spy Videos) are influenced and

    limited by several factors, including resolution, frame rate, and compression. In this section I

    discuss these technical considerations, and in Section V below I discuss how these issues

    directly relate to the reliability of the video sources in this matter.

22. Digital video is a technology that provides for the rapid sequential display of successive still

    images, that are perceived by the viewer as continuous pictorial motion. Consequently, a digital


3
  A “hash value” is a cryptographic representation of a piece of binary data, that can be used as a digital
fingerprint. If two items share the same hash value, they are electronically identical, whereas even small changes
to a digital file will change its hash value.

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   video file is a collection of still images, each called a “frame,” with a mechanism for replaying

   those images in sequence. The size of the digital video file, and by association the resources

   needed to transmit it, can be reduced through the use of data compression.

23. Some compression techniques, like Zip containers, are categorized as “lossless,” because they

   do not remove any information from the original file. By contrast, most digital video uses

   “lossy compression” techniques that permanently remove certain information from the file. A

   digital video file consists of multiple layers:

               a. The outer layer is a container that encapsulates the data in a standard format.

                   Typical digital video container types include .avi, .mp4, .mov, .mkv, and so on.

               b. The video frames within the container are digitally encoded during creation and

                   decoded during playback by a “codec” (for “coder/decoder”) that applies data

                   compression both to the individual frames and between the frames. Typical

                   codecs include .H264, H.263, XVID, and so on.

               c. In addition to video, a digital video file may also contain audio (which is itself

                   encoded by an audio codec, such as AAC or PCM) and metadata (identifying

                   the codecs used, and other data about the video file).

24. The Spy Videos are contained in .mp4 containers, encoded by H.264 for the video and AAC

   for the audio. The Spy Videos are published as high-definition videos with a resolution of

   1920x1080.

V. ANALYSIS AND OBSERVATIONS OF THE SPY VIDEOS

           A. KNOWN ALTERATIONS

25. Initial observation of the Spy Videos published on CryptoLeaks shows that each one has been

   subjected to several self-evident alterations that were made after the hidden camera videos were

   first recorded. I will refer to these collectively as “Known Alterations.”

26. For one, the Spy Videos comprise less than thirteen minutes of content, excerpted from what


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      were evidently significantly longer meetings. The original duration of the meetings is not

      known, but it is reasonable to infer that the unedited hidden camera recordings span hours of

      content, from which only a handful of minutes have been extracted. It is therefore not possible

      to evaluate how the missing additional material might change the apparent meaning of the

      twenty-five Spy Videos from how they appear when taken out of context.

27. The Spy Videos have also been altered to re-orient the framing. The original recording is

      vertically oriented (the height exceeds the width), but as published on the site the videos are

      horizontally oriented (the width exceeds the height). To do so, the hidden camera video is

      framed by a fuzzy boundary on the sides, as depicted below.4




28. The Spy Videos appear to present a conversation with an unseen person (“The Questioner”)

      whose voice has been concealed through use of a voice-changing filter. Because the voice-

      changing filter is only applied to the Questioner’s voice, during a dynamic and unpredictable

      conversation, the filter must have been applied after the hidden camera video was recorded.

29. In many of the Office Videos, a circular shape has been superimposed over the video,

4
    The screenshot is taken from c3-17-i-can-sue-solana.mp4.

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    apparently to censor or redact some aspect of the image (“Redaction Bubble”).

30. The Spy Videos have also been altered in order to overlay subtitles that purport to transcribe

    the snippets of conversation that are presented. Sometimes the subtitles extend beyond the

    width of the recorded image (as seen in the screenshot above), establishing that the subtitles

    were added after the re-orientation of the image.

31. The existence of these Known Alterations definitively establish that some degree of post-

    recording processing occurred, and that there was therefore an opportunity in which to make

    more meaningful, and hard to detect, alterations.

           B. DEEP FAKES

32. The term “deep fake” refers to an array of technologies that deploy machine learning and/or

    artificial intelligence to generate realistic looking but inauthentic images, videos, and/or audio.

    The technology first came to popular attention in 2017 through research published by the

    University of Washington, which included the publication of a sample video of former

    President Barack Obama apparently giving a speech, which had in fact never occurred.5 Anti-

    fraud specialists have raised concerns that deep fake technology could be used to create

    reputational damage, “fake news,” or the basis for extortion schemes.6 Websites, such as the

    Massachusetts Institute of Technology’s “Detect Fakes,” present opportunities for

    understanding how convincing deep fakes can be, and how difficult it is to detect them.7

33. In June 2019, a team of researchers from Stanford University, the Max Planck Institute for

    Informatics, Princeton University and Adobe Research presented their algorithm for creating

    “deep fake” videos. They presented the algorithm in a paper called “Text-Based Editing of

    Talking-Head Video” (“TBE”)8, along with an accompanying demonstration video. As


5
  See https://www.washington.edu/news/2017/07/11/lip-syncing-obama-new-tools-turn-audio-clips-into-realistic-
video/
6
  See https://www.acfeinsights.com/acfe-insights/2019/3/13/could-you-spot-a-deep-fake-video.
7
  See https://detectfakes.media.mit.edu.
8
  Planck, Max. “Text-based Editing of Talking-head Video.” (2019), attached as Exhibit D.

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    explained in the paper and demonstrated in the video, the TBE algorithm “produce[s] a realistic

    output video in which the dialogue of the speaker has been modified, while maintaining a

    seamless audio-visual flow (i.e. no jump cuts).” The video presents several demonstrations of

    finished “photorealistic video[s]” involving a “large variety of edits, such as the addition,

    removal, and alteration of words.”

34. As explained in the Stanford paper, the TBE algorithm begins by processing a source video of

    a person speaking, along with a transcript of the person’s speech. The paper reports achieving

    best results with at least an hour of source footage. The algorithm analyzes the source video to

    identify the “phonemes” and “visemes” involved. A phoneme is a constituent unit of speech,

    such as the \k\ sound in the word cool. A viseme is the corresponding configuration of the

    speaker’s mouth that accompanies the expression of a given phoneme. By analyzing the source

    video for phonemes and visemes, the TBA algorithm develops an inventory of the known

    available speech sounds and facial positions for that speaker.

35. The user of the software can then edit the transcript to delete words, rearrange existing words,

    or even add new words. The algorithm finds the corresponding visemes that match those

    altered utterances, and splices the mouth section from those frames into the video. An AI

    engine then generates the necessary pixel-smoothing to seamlessly integrate the new facial

    motions into place.




36. One technique for identifying when part of a video image have been altered after the original

    recording is to compare the differential rates of compression through Video Error Level

    Analysis, or “VELA.”

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37. I ran a VELA check on the YouTube video demonstrating the TBE algorithm. The sections of

    the video that openly demonstrated the completed finished product of the deep fake software

    did not exhibit VELA artifacts. This indicates that a successful implementation of the TBE

    deep fake algorithm may be expected to evade VELA detection.

38. I note that the creators of this algorithm claim it was not intended for fraudulent purposes, and

    expected that it would be used in legitimate post-production of film and television work where

    the speaker could re-record their dialogue to match the output video. The version of the

    algorithm described in the paper and demonstrated in the sample video does not create a new

    audio track. This limitation, however, is not necessarily inherent to the concept. Many tools

    for generating convincing audio deep fakes exist and could be used in concert with the TDE

    algorithm in ways its creators did not intend, including to produce end results that appear just

    like the Spy Videos.9

39. In the paper, the authors state “We acknowledge that bad actors might use such technologies

    to falsify personal statements and slander prominent individuals. We are concerned about such

    deception and misuse.”

               C. METADATA

40. I examined the metadata of the Spy Videos and observed that the twenty-five video clips all

    report having been encoded on various days between March 24 and March 30, 2022. I am

    informed that the meetings purportedly depicted in the videos occurred in January 2022. It is

    not surprising that the videos report encoding dates later than the original meeting, because the

    Known Alterations required the original recording to be re-encoded, re-compressed, and re-

    saved as new files.

41. It is not possible to independently verify that the dates of encoding represented in the metadata

    are correct. During the process of compressing, encoding, and saving a video file, the software

9
 Examples of deep-fake voice replica software include Resemble, Descript, ReSpeecher, and Real-Time Voice
Cloning.

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      used to perform those functions will obtain a timestamp from the system clock of the host

      computer to be saved into the metadata of the digital video file, if the codec and container

      support that feature. As a result, if the system clock on the host computer is incorrect for any

      reason, either accidentally or intentionally, the error will be carried over into the digital file’s

      metadata.

42. From the information contained in the Spy Videos themselves, it is not possible to determine

      if the encoding dates in the various files’ metadata are accurate.

               D. INCONSISTANT RESOLUTION

43. Several factors can influence the image quality of a video, including the capabilities of the

      camera, the distance between the camera and the objects it records, and the amount of

      compression applied to the video.

44. In my examination of the Office Videos, I observed that the overall relative level of detail seen

      in Mr. Roche’s face and other objects of a comparable distance to the camera appears

      consistent.10




10
     The screengrab below was taken from c3-00-office-ava-labs-launch.mp4.

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45. As a further point of comparison, I noted that the CryptoLeaks website also contains “spy

    videos” taken of a different individual in a different restaurant, as a part of an unrelated story.

    A screenshot from a video titled “nl-1.mp4” is set forth below. In the “nl-1.mp4” video, as

    with the Office Videos, the relative level of detail in the person’s face and other objects of a

    comparable distance to the camera appears consistent.




46. I observed that the metadata of the “nl-1.mp4” video is comparable to the Kyle Roche

    Restaurant Videos in many ways: the videos share the same resolution, codecs, and container

    structure. The metadata for “nl-1.mp4” video identifies it as having been encoded in the same

    general timeframe as the Kyle Roche Spy Videos, and is reported as being encoded just hours

    before several of the Kyle Roche Restaurant Videos, including “c3-17-i-can-sue-solana.mp4.”

47. But in contrast to the observations of the Office Videos and “nl-1.mp4” discussed above, the

    apparent resolution of the Restaurant Videos does not appear consistent across the frame.

    Instead, Mr. Roche’s face appears noticeably blurrier and more pixelated than other objects at

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      a comparable distance from the camera in the same frame.11




      Other details in the frame, such as his hands, hoodie, the plate of food on the table, and the

      mesh divider on the wall behind Mr. Roche, are all more detailed than his face, yet are aligned

      at a comparable proximate distance from the camera.

48. I observed that Mr. Roche’s face appears less detailed and more compressed than the

      surrounding image in each of the nine Restaurant Videos. As discussed below, this unique

      feature of degraded quality around Mr. Roche’s face is consistent with the use of deepfake

      technology.

49. When viewing the Restaurant Videos, I observed several instances when the camera appears

      to refocus automatically in response to objects in the foreground. This phenomenon is evident,

      for example, in frames 192 to 200 of the video “c3-17-i-can-sue-solana.mp4.” In these frames,

      the unseen Questioner repositions a wine glass, and the camera’s refocusing causes the edges

      of the frame to briefly warp. Other similar examples can be seen when Mr. Roche leans in

      closer to the camera, and then leans back in his chair. The refocusing does not occur, however,

11
     The screenshot is taken from c3-17-i-can-sue-solana.mp4.

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    when objects in the middle distance behind Mr. Roche move, such as wait staff. This indicates

    that the camera was positioned physically close to Mr. Roche. Given the close physical

    proximity between the camera and Mr. Roche, and the high-definition resolution, one would

    expect that the image quality of Mr. Roche’s face would be clear and reasonably sharp.. As

    explained below, the fact that it is not suggests the videos may have been manipulated through

    deepfake technology.

50. Specifically, the fact that the image of Mr. Roche’s face is of a lower quality then its

    surroundings indicates that someone altered the Restaurant Videos in a way that caused the

    image of Mr. Roche’s face to undergoe a certain level of additional data compression, with an

    associated loss of detail, that did not occur to other areas surrounding his face. An alteration

    that would have this effect, would be the use of deepfake technology.

               E. AUDIO BREAKS

51. My analysis of the audio in the Retaurant Videos shows extensive signs of tampering and

    manipulation.

52. I analyzed the audio of the Restaurant Videos and determined that, distinctive to these videos,

    the audio track contains numerous “cuts” that interrupt the soundtrack. Each one is an

    interruption of approximately .05 of a second, during which the ambient background noise of

    the restaurant stops. These breaks occur every time the Questioner stops speaking, and before

    Mr. Roche responds. No such breaks occur in any other location, in any of the Spy Videos I

    reviewed, but do occur consistently and predictably in the Restaurant Videos every time Mr.

    Roche is about to react to something the Questioner is purported to have said. As discussed

    below, this edit is also suggestive of a deepfake edit.




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53. I conducted this analysis using Audacity to visualize the waveforms of the audio. I have

    provided some screenshots from this tool, to allow a visualization of the critical discontinuities

    present in the audio of this clip. The screenshot below depicts a section of audio from the video

    “c3-17-i-can-sue-solana.mp4,” from 00:00:16 to 00:00:21.




54. The section involves the Questioner, with the voice changer applied, asking what sounds like

    “Is Ava Labs…” (subtitled onscreen as “It’s Ava Labs…”). I observe that the waveform shown

    in the clip above is continuous. There is no interruption in the visualization of the background

    room ambience when the Questioner starts to speak, or when that speaker halts mid-sentence.

55. As a comparison, the next screenshot shows a section from approximately 00:00:26 to

    00:00:31. This depicts the section where the Questioner completes the sentence by saying

    “…one of their competitors?” and then Mr. Roche appears to respond, “No they have me.” A

    thin vertical green line (shown in the image below) representing the Audacity software’s

    playhead is positioned at the moment when the Questioner completes the question, just before

    Mr. Roche’s apparent response. Visible at this moment of transition is a discontinuous

    interruption of the waveform in which the background room ambience is missing.




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56. The screenshot below represents a section from 00:00:33 to 00:00:38. This particular section

    comes right after Mr. Roche appears to say “Their name was never…” Then the Questioner

    interrupts to ask “Explain.” This is followed by a similar discontinuity to the one noted above,

    where the ambient room tone disappears from the audio. The green playhead (shown in the

    image below) is positioned right after this discontinuity. Of special interest here is the audio

    spike that immediately follows this interruption, visible on the waveform to the right of the

    green playhead. This sound is not human speech, but an ambiguous clanging sound that has

    apparently been partially cut. This demonstrate that the actual audio has been manipulated

    beyond a simple voice distortion to, at least, the point of removing audio that had been present

    in the original recordings.




57. Another discontinuity appears in this section from 00:00:37 to 00:00:43. At approximately the

    39 second mark is a spike of audio that is not intelligible speech but appears to be masked

    audio from the unseen speaker (the subtitles read this as “Correct”). The green playhead is

    positioned at the discontinuity, and this is followed by Mr. Roche apparently saying “a plaintiff

    can purchase Solana.”




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58. The screenshot below comes from the end of the video clip, for the section from 00:00:43.5 to

    00:00:48.5. This represents the Questioner asking “Dfinity?” [sic], which is followed by

    another discontinuity before Mr. Roche appears to reply “Oh, Yeah.” The green playhead

    marks the start of the discontinuity.




59. I observed that this phenomenon occurs in every one of the Restaurant Videos after the

    Questioner speaks, but nowhere else in any of the Spy Videos. If there were characteristics of

    the audio recording equipment or the voice-changer filter that caused the discontinuous audio

    breaks as a matter of routine course, then it would be expected to find such breaks occurring

    elsewhere and throughout other, non-Restaurant videos. The localized and anomalous nature

    of these discontinuous audio breaks instead signals that some additional processing has taken

    place uniquely on the Restaurant Videos to manipulate the response provided by Mr. Roche.

    These edits do not appear to have an “innocent” explanation.

60. This analysis, when coupled with the evidence showing the inconsistent resolution in Mr.

    Roche’s face (see supra Part D), shows that it is likely that the Questioner’s audio has not just

    been filtered with a voice-changer, but could have been replaced entirely, such that the

    questions and statements to which Mr. Roche was reacting during the meeting are not the ones

    heard on the video clips published on CryptoLeaks. Alternatively, the edits could demonstrate

    that technology consistent with the TBA algorithm discussed above was used to edit the actual

    responses provided by Mr. Roche and alter them into the statements that are now being played

    on the Spy Videos.




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VI. CONCLUSION

61. The original unedited hidden camera recordings related to the CryptoLeaks videos have not

    been provided for examination, nor has any information from the purported creator of the so-

    called “Spy Videos” been presented to authenticate the video clips. Any observer visiting

    CryptoLeaks can recognize that the videos have been tampered with to take sections out of

    context, reframe the image, redact portions of some videos, change the voice of the unseen

    Questioner, and overlay subtitles.

62. In light of the existence of deep fake techniques to materially alter or even invent audio-visual

    content, it is especially noteworthy that the Restaurant Videos contain unexplained breaks in

    audio at conspicuous moments, and an apparent loss of visual detail around the speaker’s face.

    These artifacts are consistent with the use of deepfake techonology. Consequently, because

    these videos exhibit signs of repeated compression, tampering, and extensive manipulation, it

    is my conclusion that they cannot be accepted as reliable or authentic documents of what was

    said at those meetings.

63. In light of the findings discussed above, I believe, to a reasonable degree of scientific

    probability, that the Restaurant Videos are the subject of manipulation that may include

    deepfake alterations.




       Pursuant to 18 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
and correct.




        Executed on March 10, 2023.


      ________________________________________
David Kalat



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List of Exhibits

A       Curriculum Vitae of David Kalat

B.      Case #3 Ava Labs, Avalanche and Roche Freedman

C.      List of 25 Spy Videos

D.      Planck, Max. “Text-based Editing of Talking-head Video.” (2019)




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            EXHIBIT A
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Curriculum Vitae


                                             David Kalat
                                BERKELEY RESEARCH GROUP, LLC
                             70 West. Madison Suite 5000 | Chicago, IL 60602
                                         Direct: 312.429.7907
                                         dkalat@thinkbrg.com

      Mr. Kalat is an information scientist and a testifying expert in electronic evidence, digital forensics, data
      analytics, and information security. He is a licensed private detective, and the author of numerous
      publications on the history of information technologies. He leads the Chicago digital forensics lab for
      BRG’s Global Investigations + Strategic Intelligence practice group.

EDUCATION

  •   M.L.I.S       University of Illinois at Urbana-Champaign, 2011
  •   B.A.          University of Michigan, 1992, James B. Angell Scholar

EMPLOYMENT

  •   Director, Global Investigations + Strategic Intelligence, Berkeley Research Group (BRG), 2015–present
  •   Director, Disputes and Investigations, Duff & Phelps, 2011-2015
  •   President, All Day Entertainment, 1997-2008
  •   Operations Manager, DC Post/Interface Media Group, 1996-1997

PROFESSIONAL CERTIFICATIONS

  •   Licensed Private Detective (License No. 115.002487), State of Illinois (Sept. 12, 2015 – present)
  •   Licensed Private Detective (License No. 52430601), State of Texas (July 31, 2018 – present)
  •   Certified Fraud Examiner (CFE), Association of Certified Fraud Examiners (License No. 621469) (Oct.
      28, 2013 – present)
  •   Certified Computer Examiner (CCE), International Society of Forensic Computer Examiners (ISFCE)
      (License No. 1666) (Sept. 14, 2014 – present)
  •   Certified Information Systems Security Professional (CISSP), International Information System Security
      Certification Consortium (ISC)2 (License No. 593527) (Feb. 2, 2017 – present)
  •   Certified Telecommunications Analyst (CTA), Telecommunications Certification Organization (March
      26, 2019 – present)

PROFESSIONAL AFFILIATIONS

  •   Board of Directors, Association of Certified Fraud Examiners, Greater Chicago Chapter (2016 - 2017;
      2020 – 2022)
  •   Member, Association of Certified Fraud Examiners Advisory Council (2022-present)
  •   Member, Sedona Conference (June 2018 - present)
  •   Who’s Who Legal: Consulting Experts - Digital Forensics/Data (2019, 2020, 2021, 2022, 2023)
  •   Lexology Client Choice Award – Data Expert in USA (2022)
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TESTIMONIAL EXPERIENCE

   Evox Productions v. AOL Inc., No. 2:20cv02907 (C.D. Calif., 2020)
          On behalf of defendant in alleged copyright dispute, provided expert report and deposition testimony
          regarding data records pertaining to identification of images that could have been viewed during
          subject time period.
   U.S. Department of Labor v. Packers Sanitation Services Inc., No. 4:22cv3246 (D. Nebraska, 2022)
          On behalf of defendant in investigation by the U.S. Department of Labor, provided a declaration
          regarding forensic examination of electronic data sources to investigate allegations of evidence
          spoliation.
   Rowan v. Brock Pierce, No. 3:20cv01648 (D. Puerto Rico, 2020)
          On behalf of defendant in putative TCPA class action, provided declaration and expert reports
          regarding data records pertaining to identification of putative class members.
   Calhoun v FLRish, No. 3:19cv8212 (N.D. Calif., 2019)
          On behalf of defendant in putative TCPA class action, provided expert report regarding data records
          from third-party communications vendors pertaining to identification of putative class members.
   Dumas v. Paradise Exteriors, No. 9:22cv80356 (S.D. Fla., 2022)
          On behalf of defendant in putative TCPA class action, provided declaration and rebuttal regarding
          the ability to reliably identify putative class members from the available records.
   Young v. Certegy Payment Solutions and Complete Payment Recovery Services No. 1:21cv11037 (D.
       Mass., 2021)
          On behalf of defendant in putative FCRA class action, provided expert report regarding the ability to
          identify discrete data sets related to Plaintiff’s proposed class definitions.
   AEG Holdco, LLC v Vazquez et al., No. 2:21cv05290 (C.D. Calif., 2022)
          Provided expert report regarding forensic examination of various electronic data sources on behalf of
          plaintiff regarding alleged theft of trade secrets.
   Rowan v. United Enrollment Services and Adroit Health Group, No. 9:22cv80235 (S.D. Fla., 2022)
          On behalf of defendant in putative TCPA class action, provided expert report on the database records
          systems used by defendants to manage and track customer communications.
   Cole v. Sierra Pacific Mortgage Co., No. 3:18cv01692 (N.D. Calif., 2018)
          On behalf of defendant in putative TCPA class action, provided expert report on the technical
          capacity and functionality of the communication platform allegedly used by the Defendant’s third-
          party vendor. The Court ruled in Defendant’s favor on summary judgment and dismissed plaintiff’s
          claims.
   Hovanky and Jackson v. RealPage, Inc., No. 3:20cv586 (E.D. Va., 2020)
          Provided expert report on public records-based investigations into criminal records and database
          design analysis on behalf of a defendant in a putative class action seeking claims under the FCRA.
   Petruss Media Group v. Advantage Sales & Marketing LLC, AAA Case 1-19-0002-7532 (A.A.A., 2019)
          On behalf of Respondent and Counter-Claimant in a post-acquisition dispute, provided trial
          testimony on the accuracy, reliability, and functionality of a database of consumer contact
          information intended for use in digital marketing.
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   Rogers v BNSF Railway Company, No. 1:19cv03083 (N.D. Ill., 2019)
            On behalf of defendants in putative class action alleging violations of Illinois’ Biometric Information
            Privacy Act, provided written and deposition testimony on potential scope of affected class of truck
            drivers, and the information security protocols used to protect personal information pertaining to
            drivers.
   PSSI Holdings LLC v. Calhoun, No. 5:21cv0080 (E.D. Tex., 2021)
            Provided written report and testimony at hearing regarding forensic examination of various
            electronic data sources on behalf of plaintiff in alleged Computer Fraud and Abuse Act violation.
   Tichy, et al. v. Hyatt Corporation, et al., No. 1:18cv01959 (N.D. Ill., 2018)
            On behalf of defendants in putative class action alleging violations of Sherman Act’s anti-trust
            prohibitions, provided testimony on deficiencies in plaintiffs’ preservation of electronic search and
            browsing records.
   Abante Rooter and Plumbing, Inc. v. Total Merchant Services, LLC, No. 3:19cv05711 (N.D. Calif., 2019)
            On behalf of defendant in putative TCPA class action, provided expert report on the technical
            capacity and functionality of the communication platform used by the Defendant.
   Signode Industrial Group LLC v. Rutzky, No. 2021CH00314 (Cook Cnty. Cir. Ct., 2021)
            Provided written testimony regarding forensic examination of various electronic data sources on
            behalf of plaintiff in alleged theft of trade secrets dispute.
   Brown v. RP On-Site, LLC, No. 1:20cv448 (E.D. Va., 2020)
            Provided expert report on public records-based investigations into criminal records and sex offender
            records on behalf of a defendant in a putative class action seeking claims under the FCRA.
   State of Georgia v. Kathryn Schrader, No. 19-B-03161-5 (Gwinnett Cnty. Sup. Ct., GA, 2019)
            Testified at criminal jury trial on behalf of defendant Kathryn Schrader, a state court judge accused
            of felony computer trespass.
   Moskowitz v. American Savings Bank, FSB, No. 1:17-cv-00299 (D. Hawaii, 2017)
            On behalf of defendant in putative TCPA class action, provided expert report pertaining to forensic
            analysis of text message communications involving the plaintiff.
   Schaffer and Fabricant v. First Choice Payment Solutions, d/b/a Sekure Merchant Solutions, No.
       8:18cv1981 (C.D. Calif., 2018)
            On behalf of defendant in putative TCPA class action, provided expert report on the technical
            capacity and functionality of the communication platform used by the Defendant and the plaintiff’s
            proposed methodology for class member identification.
   Laramar Group, LLC v. Steven Boyack, Arbitration Before JAMS, Ref. No. 1340015694 (JAMS, Chicago,
       Ill., 2017)
            Provided written testimony regarding forensic examination of various electronic data sources on
            behalf of defendant in alleged theft of trade secrets dispute.
   Trustwave Holdings, Inc. v. GoSecure, Inc., et al., No. 1:19cv05455 (N.D. Ill., 2019)
            Provided written testimony regarding forensic examination of various electronic data sources on
            behalf of plaintiff in alleged theft of trade secrets dispute.


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   Bunnett & Co., Inc. and Energy Feeds Int’l., LLC v. J.D. Heiskell Holdings, LLC, et al., No. 3:17cv01475
       (N.D. Calif, 2017)
            Provided written reports and testimony before magistrate judge regarding forensic examination of
            various electronic data sources on behalf of plaintiff in dispute alleging breach of fiduciary duty.
   West Loop Chiropractic & Sports Injury Center v. North American Bancard, No. 1:16cv05856 (N.D.
       Illinois)
            On behalf of defendant in putative TCPA class action, provided expert report and deposition
            testimony regarding analysis of fax logs.
   Gonzalez v. TCR Sports Broadcasting Holding, LLP, No. 1:18cv20048 (S.D. Fla.)
            On behalf of defendant in putative TCPA class action, provided declaration on use of data analytics
            to determine class membership.
   Revitch v. Citibank, No. 3:17cv06907 (N.D. Calif., 2017)
            On behalf of defendant in putative TCPA class action, provided expert report and deposition
            testimony regarding analysis of dialing technology used by defendant.
   Flowers v. Twilio, Inc., No: RG16804363 (Sup. Ct. Cal.)
            On behalf of defendant in putative class action under California Invasion of Privacy Act, provided
            declaration on use of data analytics to determine class membership.
   Berman v. Freedom Financial Network, LLC, No. 4:18cv01060 (N.D. Calif., 2018)
            On behalf of defendant in putative TCPA class action, provided expert report regarding analysis of
            lead generation data.
   Marcheco v. Jo-Ann Stores, LLC, 1:18cv20564 (S.D. Fla., 2018)
            On behalf of defendant in putative TCPA class action, provided expert report and deposition
            testimony regarding analysis of dialing technology used by defendant.
   In the Matter of Tokenlot, LLC, Lenny Kugel, and Eli L. Lewitt, Securities and Exchange Commission
       Administrative Proceeding File No. 3-18739 (2018)
            On behalf of defendant in SEC administrative proceeding, provided written report regarding
            destruction of cryptocurrency tokens.
   Kolodziej v. Justice Park District, et al., 2014 L 775 (Cook Cnty. Cir. Ct., 2014)
             Testified at jury trial regarding analysis of surveillance video, on behalf of defendant in alleged
             wrongful death.
   Indeck Energy Services v. DePodesta, et al., 14 CH 602 (Lake Cnty. Cir. Ct., 2014)
             Submitted affidavits and written report regarding forensic examination of electronic data sources,
             on behalf of plaintiff in case alleging theft of trade secrets.
   Braver et al. v. NorthStar Alarm Services, LLC, 5:17cv00383 (W.D. Okla., 2017)
            On behalf of defendant in putative TCPA class action, provided written report, deposition testimony,
            and testimony at class certification hearing regarding use of data analytics to determine class
            membership.
   C.J. Drilling, Inc. v. Welsh, No. 17 CH 001095 (Kane Cnty. Cir. Ct., 2017)
            Submitted written report on behalf of plaintiff regarding forensic examination of electronic data
            sources in case alleging theft of trade secrets.

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   Western Union v. Kula, 1:17cv00280 (N.D. Ill., 2017)
          Served as neutral in dispute alleging theft of trade secrets; forensic examination of electronic data
          sources.
   Segerdahl Corp. v. Ferruzza, et al., 1:17cv03015 (N.D. Ill., 2017)
          Provided written reports and deposition testimony as both expert witness and 30(b)6 witness
          regarding forensic examination of electronic data sources, on behalf of plaintiff in case involving
          alleged theft of trade secrets.
   L&W Supply Corp. v. Banks et al., CV16-00816 (Washoe Cnty. Dist. Ct., 2016)
          Submitted written report on behalf of plaintiff regarding forensic examination of electronic data
          sources in case alleging theft of trade secrets.
   Bunnet & Co., Inc. and Energy Feeds International, LLC v. Dores, 1:15cv1104 (W.D. Texas, 2016); also In
       Re: Frank Miranda Dores and Mary Anne Souza Dores, No. 16-10169-B-13 (Bankr. E.D. Calif.)
          Provided written reports and testimony at bankruptcy hearing regarding forensic examination of
          various electronic data sources on behalf of plaintiff in dispute alleging breach of fiduciary duty.
   Pro Sapiens LLC v. Indeck Power Equipment Co., 14L5730 (Cook Cnty. Cir. Ct., 2015)
          Provided written reports, deposition testimony, and testimony at hearing regarding forensic
          examination of various electronic data sources on behalf of plaintiff in dispute alleging data
          spoliation.
   Geophysical Service Inc. v. Anadarko Petroleum Corp. et al., 1201-15228 (Ct. of Queen’s Bench of Alberta,
       2014)
          On behalf of multiple defendants, provided deposition testimony regarding public records
          investigation into plaintiff’s ability to satisfy a judgment.

PUBLICATIONS

Note: Since 2018, I have contributed a monthly series for LegalTech News called “Nervous System,” which
approaches issues of data privacy and cyber security from the context of history. Individual installments of this
series are itemized below, and all are collected centrally at
https://www.thinkbrg.com/insights/publications/kalat-legaltech-news-nervous-system/

   Day One: The Origin Story of Computer Forensics, Pratt’s Privacy & Cybersecurity Law Report
      (LexisNexis A.S. Pratt) Vol. 1 No. 1 (August/September 2015)
   The Trouble With Mobile Forensics, ThinkBRGTech.com (October 15, 2015)
   Anti-Forensics Gets An Upgrade: The Hidden Traps In Today’s Latest Technology, ThinkBRGTech.com
      (June 27, 2016)
   Dyn and Dash, SC Media (December 19, 2016)
   Understanding the Challenges of Strong Encryption, Law360 (April 10 & 11, 2017)
   Outrunning the Lion: Advice for Fighting on the Front Lines of Today’s Data Breach Attacks, (Legal Tech
      News, December 20, 2017)
   Fighting on Today’s Front Lines, (InfoSecurity Magazine, Jan. 3. 2018)
   Nervous System: The Story of the First White Hat Hacker (Legal Tech News, February 5, 2018)

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   Nervous System: Evaluating TCPA Liability in the Actual Wild West (Legal Tech News, March 1, 2018)
   Confronting BIPA Liability in the Blink of an Eye (ThinkBRG Global I Blog, March 8, 2018)
   Nervous System: The Boy Who Could Talk to Computers (Legal Tech News, April 5, 2018)
   Nervous System: Just the Fax, Ma’am (Legal Tech News, May 3, 2018)
   Nervous System: The Small Start of Big Data (Legal Tech News, June 4, 2018)
   Nervous System: The AIDS Trojan Makes You WannaCry (Legal Tech News, July 9, 2018)
   Nervous System: The Glamour Girl’s Secret Privacy Weapon (Legal Tech News, August 6, 2018)
   Nervous System: The Tech Revolution is Earlier Than You Think (Legal Tech News, September 4, 2018)
   How to Recognize Different Types of Dialers From Quite a Long Way Away (The Consumer Finance Law
      Quarterly Report, Volume 72, No. 2 (2018))
   Nervous System: What Hollywood Has Taught the U.S. Government About Cybersecurity (Legal Tech
      News, October 12, 2018)
   Nervous System: Taking Biometrics at Face Value (Legal Tech News, November 2, 2018)
   The Digital Detective: The History of Passwords and the Case of the First Theft (ThinkSet Issue 6,
      November 4, 2018)
   Nervous System: The Computer That Taught HAL to Sing (Legal Tech News, December 3, 2018)
   Nervous System: The Day Grace Hopper Literally Debugged a Program (Legal Tech News, January 7,
      2019)
   Nervous System: The Dawn of Spam (Legal Tech News, February 4, 2019)
   Nervous System: Big Brother, the Ghost in LBJ’s Computer (Legal Tech News, March 5, 2019)
   The Digital Detective: The Evolution of Intellectual Property Rights: From Punch Cards to Pixels
      (ThinkSet Issue 7, March 7, 2019)
   Nervous System: The First Social Network (Legal Tech News, April 2, 2019)
   Nervous System: Think Cryptocurrency is New? You've Forgotten the '80s (Legal Tech News, May 7, 2019)
   The Digital Detective: Why Use Encryption? Because Business Needs A Free Flow Of Ideas (ThinkSet,
      May 16, 2019)
   You Can’t Change Your Fingerprints, But Do You Need To? The Evolution of Biometric- and Password-
      Based Authentication Security, Pratt’s Privacy & Cybersecurity Law Report (LexisNexis A.S. Pratt)
      (Part I - May 28, 2019; Part II – September 4, 2019)
   Nervous System: The Great Fixer of Information Coding Errors (LegalTech News, June 4, 2019)
   Nervous System: The Day the NSA Took Down the Military (LegalTech News, July 3, 2019)
   Nervous System: The First Modern Presidential Campaign (LegalTech News, Aug. 5, 2019)
   Nervous System: Clipping the Wings of the Clipper Chip (LegalTech News, Sept. 3, 2019)
   The Digital Detective: The Case of the Tasteless T-Shirts That Created the Internet As We Know It
      (ThinkSet, Sept. 5, 2019)
   Nervous System: How Legal Tech Helped Catch the BTK Killer (LegalTech News, Oct. 7, 2019)
   Nervous System: Passwords Became More Secure By Adding a Pinch of Salt (LegalTech News, Nov. 5,
      2019)
   Nervous System: Claude Shannon’s Magic Mouse and the Beginnings of Artificial Intelligence, (LegalTech
      News, Dec. 10, 2019)

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   The Digital Detective: They Came to Rob Star Wars (ThinkSet, Jan. 9, 2020)
   Nervous System: The Countess of Lovelace, the First Computer Programmer (LegalTech News, Jan. 10,
      2020)
   Nervous System: Alan Turning’s Gin Memory (LegalTech News, Feb. 10, 2020)
   Nervous System: UNIVAC Predicts the Next President (LegalTech News, March 3, 2020)
   Nervous System: How Punch Cards Brought Us to Our Census (LegalTech News, April 1, 2020)
   The Seven Layer Cake of Information Security: A Technical Guide for the Non-Technical Reader Pratt’s
      Privacy & Cybersecurity Law Report (LexisNexis A.S. Pratt) (Vol. 6, No. 3, April 2020)
   Nervous System: The Triumphs of a Lazy Programmer (LegalTech News, May 5, 2020)
   Nervous System: Teaching Machines to See Faces (LegalTech News, June 5, 2020)
   Nervous System: The Unexpected History of VoIP (Legaltech News, July 7, 2020)
   Nervous System: The Police Beat Algorithm and Automated Criminal Justice Information Systems
      (LegalTech News, Aug. 4, 2020)
   Demystifying Blockchain and Cryptocurrencies (The Journal of Robotics, Artificial Intelligence & Law,
      Vol. 3, No. 6, Nov.-Dec. 2020)
   Nervous System: The Inventor, the Barbershop Quartet, and the Origin of the Email Attachment (LegalTech
      News, Sept. 1, 2020)
   Nervous System: The Sleepy History of the Buffer Overflow Attack (LegalTech News, Oct. 7, 2020)
   Nervous System: Before the Battle Over 5G There Was the Battle Over 3G (LegalTech News, Nov. 9, 2020)
   Nervous System: The First Major Data Breach, 1984 (LegalTech News, Dec. 8, 2020)
   Nervous System: Dialing for Dollars (LegalTech News, Jan. 8, 2021)
   Nervous System: How ‘The 414s’ Hacking for Video Game High Scores Led to Federal Cyber Law
      (LegalTech News, Feb. 8, 2021)
   Dispossessed, Beyond Custody, and Out of Control: Where the Stored Communications Act and the Federal
      Rules of Civil Procedure Meet Modern Communications Technology Pratt’s Privacy & Cybersecurity
      Law Report (LexisNexis A.S. Pratt) (Vol. 7, No. 2, February 2021)
   Nervous System: Computer Crime and Punishment (LegalTech News, March 2, 2021)
   Nervous System: Oliver North and the Origin Story of Legal Technology (LegalTech News, April 6, 2021)
   The Digital Detective: Why Computers Aren’t Patented (ThinkSet, April 26, 2021)
   Nervous System: Audrey, the Dragon, and the History of Voice Recognition Technology (LegalTech News,
      May 5, 2021)
   Nervous System: The CPU ARM Race Had Its Start in the ‘80s (LegalTech News, June 7, 2021)
   Nervous System: SafeBack in the Day (LegalTech News, July 6, 2021)
   Nervous System: Florida Man, Joe Biden, and the Federal Computer Crimes Act (LegalTech News, August
      4, 2021)
   Nervous System: Dumpster Diving for Fraud and Profit (LegalTech News, September 1, 2021)
   Nervous System: Engineering the Next Generation of Computer Users with the Alto (LegalTech News, Oct.
      4, 2021)
   Nervous System: Rethinking Voice Recognition at the Canada Border (LegalTech News, Nov. 2, 2021)
   Nervous System: The Computer Virus That Wasn’t (LegalTech News, Nov. 30, 2021)

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   Nervous System: The Computer Crime of the Century (LegalTech News, Jan. 6, 2022)
   Nervous System: Knowing Your Place in the World (LegalTech News, Feb. 1, 2022)
   Nervous System: Presenting Our Next Witness, the iPhone (LegalTech News, March 2, 2022)
   Nervous System: The Entropy of Wordle (LegalTech News, April 4, 2022)
   Nervous System: From a Cry in the Dark to the Forensic Voiceprint (LegalTech News, May 4, 2022)
   Nervous System: Cybernetics and the Birth of Computer Ethics (LegalTech News, June 8, 2022)
   Nervous System: How Lossless Compression Makes Information Skinnier (LegalTech News, July 7, 2022)
   Nervous System: How to Have a Secure Conversation With a Stranger (LegalTech News, August 2, 2022)
   Nervous System: How Trolls Built Big Tech (LegalTech News, Sept. 19, 2022)
   Nervous System: The Bakery Computer (LegalTech News, Oct. 4, 2022)
   Nervous System: The Strange Case of the Forged Email, the Carphone, and the Woman Who Lost Her Job
      (LegalTech News, Nov. 3, 2022)
   Nervous System: From Gibberish to Unicode (LegalTech News, Dec. 6, 2022)
   Nervous System: The Great Emoji War (LegalTech News, Jan. 4, 2023)
   Nervous System: Formulae for Success (LegalTech News, Feb. 2, 2023)




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            EXHIBIT B
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     Crypto Leaks




Ava Labs (Avalanche)
attacks Solana & cons
SEC in evil conspiracy
with bought law firm,
Roche Freedman
In his rush to hurt competitors, and distract regulators from his
actions, Emin Gün Sirer is harming everyone in blockchain




 i   Our spy videos: This report shares extensive spy video. All video has
     been collected in accordance with applicable laws.




 i   Whistleblower appeal: With these disclosures, we aim to show people
     who are not crypto insiders what goes on behind the scenes. Do you
     want to be part of this movement? If you have any further information
     on this case and the different parties involved, become a whistleblower
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      for Crypto Leaks and join our movement bringing honesty and integrity
      back to the crypto community.




CASE #3     August 26, 2022 [UPDATED August 31]



Ava Labs, Avalanche and Roche Freedman
Ava Labs is an American for-profit company that develops and promotes the
Avalanche blockchain, which recently raised substantial funding in collaboration
with Three Arrows Capital, the failed hedge fund that has been accused of
acting like a Ponzi scheme. It is led by CEO and founder, Emin Gün Sirer, and
claims to employ more than 150 people. The Avalanche network currently has a
fully diluted market capitalization of more than $16.5 billion USD.




Roche Freedman is a law firm that widely sues people in crypto, currently
running at least 25 class actions, including against Binance, the crypto
exchange, and Ava Labs (Avalanche) competitors Solana Labs (Solana) and the
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Dfinity Foundation (an Internet Computer contributor). It is led by founding
partner, Kyle Roche, and employs more than 30 lawyers.




We can reveal that for several years they have been operating according to an
extraordinary secret pact that harms the crypto industry, and has a nature so
perverse that it undermines the integrity of the American legal system.

Some years ago, blockchain company Ava Labs and Amercian law firm Roche
Freedman, made a deal. A pact was formed that involved Ava Labs granting
Roche Freedman a massive quantity of Ava Labs stock and Avalanche
cryptocurrency (AVAX), now worth hundreds of millions of dollars, in exchange
for Roche Freedman agreeing to pursue a hidden purpose.

In a shocking series of video recordings, shared by this case investigation, Kyle
Roche himself now reveals the exact nature of their ongoing operations. The
case is highly disturbing in nature.

We can reveal that the pact directs Roche Freedman and their leader Kyle
Roche, to: 1) use the American legal system - gangster style - to attack and
harm crypto organizations and projects that might compete with Ava Labs or
Avalanche in some way, 2) sue crypto industry actors generally with the aim of
creating magnets for regulators such as the SEC and CFTC that distract them
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from the highly commercial nature of Ava Labs and the Avalanche blockchain,
and 3) secretly pursue Emin Gün Sirer's personal vendettas against
individuals.

As usual, Crypto Leaks brings you the hard evidence that nobody else can
obtain. We explain with the help of words spoken by Emin Gün Sirer's own
lawyer, Kyle Roche.


Ava Labs & Roche Freedman co-locate
August 2019, the newly formed law firm Roche Freedman moved into a co-
working space with Ava Labs, the for-profit company that develops and
promotes the Avalanche blockchain.




     0:00 / 0:25




Big money establishes a secret pact
In exchange for Roche Freedman providing what Kyle calls "legal services", Ava
Labs granted them massive amounts of:

  AVAX        the Avalanche blockchain's tokens.
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  Ava Labs corp's stock (Ava Labs holds AVAX for founders and investors).

Kyle Roche says he was the very first person to receive Ava Labs stock after
Andreessen Horowitz, a venture capitalist that provided their initial funding.




     0:00 / 0:31




So if Ava Labs was flush with cash having just received investment from
Andreessen Horowitz, why did they need to pay for "legal services" in this
way?

The answer is that they were not paying for normal legal services. The massive
payments of AVAX and Ava Labs stock established a secret pact. This was so
unusual, that it required the grant of assets that are worth hundreds of millions
of dollars today.

Kyle boasts he has a full point on AVAX, and Ava Lab stock...
           Case 3:21-cv-06118-JD Document 109-3 Filed 03/15/23 Page 37 of 87




     0:00 / 0:28




Kyle says he has about a third of what Kevin Sekniqi has, who is the co-founder
and current COO (Chief Operating Officer) of Ava Labs.

Kyle says that he helps control the AVAX token supply, and helps Ava Labs
with "regulation issues," and "competitors..."




     0:00 / 0:52
           Case 3:21-cv-06118-JD Document 109-3 Filed 03/15/23 Page 38 of 87
Kyle refers to Emin Gün Sirer by his nickname, "Goon."

He says he trusts "Goon" and Kevin "like brothers," and that they have the "same
interests..."




     0:00 / 0:13




As the conversation progresses, the truth about the pact begins to emerge:
Kyle confirms that they litigate against (sue) other parties in crypto as a
"strategic instrument" to "support Ava Labs" to a level where they made him an
"equity partner." Kyle says litigation "is an underused tool."

Kyle describes participating in the pact as a:




“
      completely different way than being a lawyer
           Case 3:21-cv-06118-JD Document 109-3 Filed 03/15/23 Page 39 of 87




     0:00 / 0:34




Kyle Roche moved to Miami for "tax purposes."

He moved in with Kevin Sekniqi, Ava Labs' COO, reflecting just how tightly the
organizations work together.

In the years since he moved, Kyle Roche has failed to update his LinkedIn profile,
which still lists his location as the "New York City Metropolitan Area," which is a
more prestigious place to locate a law firm.

Naturally, Kyle's profile makes no mention of Avalanche or Ava Labs.

Behind this elaborate smokescreen, Kyle is working from Miami with two key
objectives: 1) to increase the price at which he can sell his AVAX tokens and Ava
Labs stock, and 2) to reduce the amount of tax he pays when he sells.
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     0:00 / 0:07




Harvesting confidential information
As the conversation continues, the first signs of the perverse nature of the
secret Ava Labs/Roche Freedman pact begin to emerge.

Kyle reveals that he started out as a "crypto expert" for Ava Labs. But how, you
might ask, could a lawyer be a "crypto expert" for a company that develops and
promotes a blockchain.

Kyle reveals that answer. He can contribute a special kind of expertise and
knowledge — which he explains he has been able to obtain because:




“
      I sue half the companies in this space

In the USA, when you sue an individual or company, you can demand access to
their confidential accounts, commercial data, email and social media
communications, and more, using a special legal process known as "discovery".
This has resulted in him:




“
      seeing the insides of every single crypto company
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Kyle boasts that being able collect information in this way has resulted in him
becoming one of the:




“
      top 10 people [experts] in the world [in crypto]

If a blockchain company could unfairly gain access to the confidential
information of others, they could use it as a powerful competitive tool. It seems
that Kyle sharing this special expertise with Ava Labs was one of the key factors
that convinced Emin Gün Sirer to make the pact.

Until proven otherwise, we must assume that Ava Labs may even have directed
Roche Freedman as to what confidential information they should harvest from
the industry. It is unclear how much confidential information Ava Labs has
obtained, but the potential for extreme wrongdoing is very concerning.

Naturally, you can be sure that during discovery against a target, Roche
Freedman automatically demands the identities of investors, contractual
agreements with partners, customer lists, payroll details, and information about
every other kind of financial transacton, related to the organizations they are
litigating against, and their founders and executives. They will also ask for
complete email, Slack and other communication histories, which provide them
with a treasure trove of information valuable to a competitor, including even
technical insights.

The many crypto industry participants who have been litigated against by Kyle
Roche must now question exactly how much of their confidential data is now
in the possession of Ava Labs executives.
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      0:00 / 0:21




Harming competitors and fooling regulators
Roche Freedman runs litigation against numerous people and organizations in
the blockchain industry (i.e. it sues them). A favored method is to initiate class
actions. Several months ago, Kyle Roche claimed to be running more than 25
class actions.



  i      Roche Freedman class actions: In their American class actions, they
         propose a class of people whom they claim have been harmed, for
         example because they lost money trading a cryptocurrency. They then
         create a lawsuit in their name, for example claiming that the
         cryptocurrency is an illegal security, and that therefore that those
         developing or promoting the blockchain involved, or those running
         crypto exchanges that enabled them to trade the cryptocurrency, are
         liable for the losses of everyone in the class. In the United States, they
         only have to find one person willing to be a representative plaintiff for
         the class to initiate action.
          Case 3:21-cv-06118-JD Document 109-3 Filed 03/15/23 Page 43 of 87
When they create class actions and other litigation against Ava Labs
competitors and crypto industry participants, Kyle Roche has revealed that
Roche Freedman often has two hidden purposes:

  1. Surreptiously causing harm to a competitor.
     If there are two horses competing in a race, and you can hack at the leg of
     one, the other will win. Their horse is AVAX and Ava Labs stock. Initiating a
     class action against their competitors can harm them in multiple ways, and
     so they have secretly weaponized the legal system to do this. Even when
     they can make only a weak case, such that with high probability they will
     lose the litigation, this can still harm their targets, greatly profiting them.
     Moving the price of AVAX by only a small amount, by harming competitors,
     can produce big gains for them when they make sales from their huge
     hoard of AVAX tokens and Ava Labs stock. Ava Labs is not ever named as
     the litigant — the class of plaintiffs is — disguising what is really going on.

  2. Luring regulators, including the SEC and CFTC, away from Ava Labs.
     They often litigate against competitors in ways that make them look guilty
     of regulatory transgressions. Directing the attention of regulators towards
     competitors can cause further great harm to them, but also serves to lure
     regulators away from Ava Labs and their ravenously commercial behavior,
     which regulators would otherwise be very interested in. Kyle tells us he
     litigates to create "other magnets" for regulators to go after. They also do
     this to crypto actors who are not obvious competitors.

Here's a quick crib sheet for what is going on:

  Roche Freedman typically attacks competitors using American "class actions,"
  in which they claim to be representing a group of people who they claim have
  been "harmed" (the plaintiffs). For example, they can claim another
  blockchain's tokens are illegal securities, and consequently some people who
  traded them suffered unfair losses when the price fell.

  In the United States, class action legal filings are "protected speech." This
  allows Roche Freedman to make damaging claims about other projects that
  are in reality completely false, without risk of being sued for defamation (or
  "libel"). For example, they filed a lawsuit against the Dfinity Foundation that
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essentially parroted the false claims of Arkham Intelligence. The purpose is to
damage the reputation of their targets, and/or surround their brands in FUD.

Once Roche Freedman has initiated litigation against a target in crypto, they
can collect/harvest confidential information from them using the legal
discovery process, creating "expertise" that they can share with Ava Labs.

The nature of the American class action system forces targets to spend far
more on defense than Roche Freedman spends litigating against them. This is
because if they lose — and juries are unpredictable — the judge can award
astronomical damages against them. This drains the resources of
competitors, as well as distracting them from their core work.

Roche Freedman's financial risk is limited to the money it spends on litigating
against a target. This is because another quirk of the American legal system
prevents the targets of their class actions from claiming their legal costs back
from Roche Freedman if they win.

Roche Freedman can spend a few million dollars litigating against an Ava
Labs competitor, and lose the case, and still come out on top, if their actions
harm or suppress a blockchain that competes with Avalanche (since if their
actions may drive the price of AVAX even slightly higher, such is the size of
their holdings, they can make a substantial profit).

By naming the founders and executives of blockchain ecosystems and
companies in their class actions, they can threaten them with total bankruptcy
if they lose. This destablizes their key leaders and innovators, also placing
tremendous pressure on their families, especially when there are children
involved. Naturally, if they can cause family issues for the leaders of
competitors, this will further degrade their capabilities.

Ava Labs and Roche Freedman seek to surreptitiously increase the price of
AVAX in a ruthless and highly commercial manner. Their desire to promote
AVAX and increase its price at any cost greatly increases the risk that the SEC
would class the AVAX token as an illegal security. To divert the attention of
regulators like the SEC and CFTC elsewhere, they widely litigate against other
actors in the blockchain industry accusing them of regulatory transgressions.
This protects them by diverting attention elsewhere, while increasing the
           Case 3:21-cv-06118-JD Document 109-3 Filed 03/15/23 Page 45 of 87
  regulatory risk of the target, which is doubly useful to them if they are some
  kind of competitor.

Kyle Roche says he is the reason Ava Labs haven't been sued. He says that to
protect them, he makes sure that:




“
      the SEC and CFTC have other magnets to go after




     0:00 / 0:35
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     0:00 / 0:46




Kyle even claims that thanks to his efforts, he has ensured that for Ava Labs,
there's




“
      no such thing as regulation for what they want to do




     0:00 / 0:14
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Emin Gün Sirer's two-faced nature
Emin Gün Sirer regularly professes his support for other blockchain projects,
and indicates he wishes their ecosystems the best. Here he offers support for
Solana users when they were having their wallets emptied by the Slope wallet
exploit, claiming kinship by saying everyone in the space was affected, and then
offering apparently well-intentioned technical theories on what might be
happening (all of which proved wrong).

        Emin Gün Sirer         · Aug 2, 2022
        @el33th4xor · Follow
        There's an ongoing attack targeting the Solana ecosystem right now.
        7000+ wallets affected, and rising at 20/min. Because it's very early
        and the attack is ongoing, there's a lot of misinformation and
        speculation. So here are a few thoughts and clarifications.

        Emin Gün Sirer
        @el33th4xor · Follow

 First of all, our hearts go out to the Solana community.
 Attacks like this affect not just the directly targeted
 system, but everyone in the space indirectly by eroding
 people's confidence in the space. Here's hoping for a
 quick clarification and recovery, if possible.
 9:32 PM · Aug 2, 2022

     838         Reply         Share

                               Read 27 replies



Nobody should be fooled. This tweet thread was created only weeks after
Roche Freedman filed a class action targeting the core of the Solana
ecosystem claiming that its SOL token is an illegal security.

The false narrative Emin is establishing by these attacks hurts everyone in the
industry. He should consider that one day he may find himself facing exactly the
same arguments that he is establishing in his rush to hurt competitors.


Do their actions make AVAX a security?
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What is most frustrating, is that Ava Labs and Roche Freedman are probably the
most ruthlessly commercial operation in blockchain, which is amply revealed by
their secret weaponization of the legal system against competitors. Indeed, their
relentless subtle (and not so subtle) promotion of AVAX as an investment
opportunity, combined with their nefarious tactics, are in fact very likely to make
AVAX a security.

Kyle Roche has implored Emin Gün Sirer not to mention the price of AVAX so
as not to catch the eye of the regulators. However, Emin can't contain himself
when there is a major AVAX price rally.

During one such rally December 7 2021, Emin Gün Sirer even encouraged his
followers by leading them in an adapted Paul Simon song:

         Emin Gün Sirer
         @el33th4xor · Follow

  Hello #Avalanche my old friend.
  1:36 PM · Dec 7, 2021

      2.6K         Reply        Share

                            Read 112 replies



CASE UPDATE — Thanks to community
In the tweet below, Emin announced an Ava Labs marketing campaign on the
New York subway, with the strapline "It's never too late to be early." The not-so-
subtle sales pitch to investors is that it is still possible to be an early investor in
the AVAX token and make substantial profits. Emin's tweet announced the
campaign, which ran in parallel with other Ava Labs campaigns, on December
14, 2021. That day the AVAX price was $87.30. By December 15, the price was
$101.18. By December 21, the price was $123.33. At the time of writing (end
August 2022) the price is around $19.
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          Emin Gün Sirer
          @el33th4xor · Follow

 It's never too late to be early.




 9:04 AM · Dec 14, 2021

     4K          Reply       Share

                             Read 179 replies




Roche Freedman is continually suing other blockchain projects on the basis that
they have made regulatory infractions, and are therefore liable to token traders
that lost money. Yet, they have never sued Ava Labs, a blockchain project that
directly markets its tokens to retail investors as investment products, who have
consequently lost substantial funds.

Kyle Roche's own words, shared by our Case #3 videos
                                              videos, make it amply clear
why Roche Freedman have not, and will not, sue Ava Labs.


Emin Gün Sirer's personal vendettas
It is a great surprise that Ava Labs' legal proxy performs work prosecuting Emin
Gün Sirer's personal vendettas. This looks like a misuse of company resources
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for personal purposes, which is a serious no-no in the corporate world.

His regular use of "dark power" is also most unexpected for a man who likes to
brandish the title of "professor at Cornell University".

First blood: a social media pundit

Emin's first vendetta was against a Turkish social media crypto pundit who said
that he "heard he was a member of FETO."




     0:00 / 0:32
           Case 3:21-cv-06118-JD Document 109-3 Filed 03/15/23 Page 51 of 87




     0:00 / 0:20




Kyle Roche found out that the social media pundit was landing in Miami for a
business trip. He used the event to serve him papers, and ensnare him in the
American legal system. The moment was videoed for Emin's pleasure.

Kyle shares that Emin now watches the video once a month — presumably to
relive the shock and pain caused by the ambush — revealing troubling
tendencies.

Kyle seems very pleased, and says:




“
      that's why Gün loves me...
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     0:00 / 0:31




CASE UPDATE — Thanks to community
We have not investigated the rights-and-wrongs of the Crypto Emre case.
However, the community has produced interesting additional information. They
say that early in 2021, there was a lot of excitement about CBDCs (Central Bank
Digital Currencies), and that Ava Labs ran marketing campaigns in Turkey
claiming that they were in talks about running them on Avalanche with the
Turkish Central Bank, the Bank of England, and the Bank Of Canada. They say
that Emre then debunked the claims, by contacting the central banks involved,
and then tweeting their responses (see here, here and here) and that this kind of
thing was a key driver of Ava Labs' animosity towards him.

We also note that Kyle Roche/Roche Freedman threatened Emre in February
2021 on behalf of Ava Labs and Emin Gün Sirer. This contrasts with Emin Gün
Sirer's recent denials of close links to Roche Freedman.
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Surreptitiously attacking Craig Wright

CORRECTION — Thanks to community
Emin Gün Sirer has marketed himself as a Cornell University professor for years.
However, in fact, he appears to have ben removed from his post at the end of
2021. Regarding his actual role: Emin completed his PhD, then spent 7 years as
an assistant professor, then transitioned to associate professor, where he
remained for 14 years, never making it to university professor. We believe
frustrations with his academic career led him to a grandiose sense of his own
academic achievements within blockchain.

There are numerous indications that Emin Gün Sirer wishes to promote himself
as the "Father of Blockchain." Recently, he had his PR people update his
wikipedia page with the dramatic claim that his:




“
      Karma system, published in 2003, is the first cryptocurrency that uses a
      distributed mint based on proof-of-work

Experts in the field examining this paper say this claim is unjustifiable.
Meanwhile, while developing Avalanche, he anonymously published a paper
describing the consensus protocol he planned to use under the pseudonym
"Team Rocket," which he then drew attention to on social media with faux
rapture, as though it heralded the return of Satoshi Nakamoto:
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        Emin Gün Sirer
        @el33th4xor · Follow

 Someone dropped this paper on IPFS and some IRC
 channels yesterday. It describes a new family of consensus
 protocols that combines the best of Nakamoto consensus
 with the best of classical consensus. Huge breakthrough:
 ipfs.io/ipfs/QmUy4jh5m…
 6:58 AM · May 17, 2018

     1.2K        Reply         Share

                               Read 54 replies



It was only after sustained ridicule on social media, that Emin was eventually
forced to concede that it was his own team that produced the paper, thus
ending his quest to emulate Satoshi through anonymous publication.

Recently, Twitter bots (i.e. fake Twitter user accounts that are directed by
automated systems for the purpose of marketing), which appear controlled by
Ava Labs, either directly or indirectly, have hailed Emin as the "Father of
Blockchain."

Emin's grandiose sense of his own contributions to blockchain, and an envy of
the Satoshi Nakamoto crown, perhaps combined with a disposition towards
dark power, then led to him wanting Kyle Roche to pursue Craig Wright, who
claims to be part of a small team that invented Bitcoin.

Many people fiercely disagree with Craig Wright's claim, but most people
would not secretly attack him through the legal system:
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     0:00 / 0:23




Through his attacks on Craig Wright, Kyle Roche boasts how he helped
massively devalue the Bitcoin Satoshi Vision (BSV) blockchain by billions of
dollars. This will be of interest to Craig Wright, and every member of the BSV
cryptocurrency community who sustained losses:




     0:00 / 1:15
          Case 3:21-cv-06118-JD Document 109-3 Filed 03/15/23 Page 56 of 87
CASE UPDATE — Thanks to community
It is important to note that Emin Gün Sirer appears to have a long history of
attacking from the shadows. The /r/BSV reddit (a kind of online public forum)
was squatted by anti-BSV moderators who managed to acquire complete
control. They then trolled BSV enthusiasts wishing to use the forum as a place
to discuss the BSV network, disrupting their community. These moderators
made great efforts to remain anonymous, but now this official link to old reddit
content appears to reveal that Emin Gün Sirer himself was one of those
moderators.

Link: https://old.reddit.com/user/el33th4xor/




CASE UPDATE — Thanks to community
It appears that Emin Gün Sirer gave Kyle Roche a painting of Craig Wright as a
gift after the first phase of the Roche Freedman case against him was complete.
This speaks to the importance of his working relationship with Emin Gün Sirer
and Ava Labs.
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        Christen Ager-Hanssen
        @agerhanssen · Follow

 14th February 2022 in Kyle Roche @KyleWRoche office.
 Kyle proudly shows me the attached picture/painting of
 Craig Wright @Dr_CSWright that he said was a very
 special gift from Emin Gün Sirer @el33th4xor for
 “defeating” Craig Wright in the case Kleinman vs Wright




 3:07 AM · Aug 30, 2022

     167         Reply     Share

                            Read 34 replies




Class actions against competitors
At another venue with Kyle Roche, it quickly became clear that his favorite class
actions were against obvious Ava Labs competitors. When asked, he appeared
hardly able to conceal his glee when confirming that Dfinity — the not-for-profit
developer of the Internet Computer blockchain, and the subject of a major
Roche Freedman class action — was a competitor to Ava Labs and Avalanche.
           Case 3:21-cv-06118-JD Document 109-3 Filed 03/15/23 Page 58 of 87




     0:00 / 0:13




Kyle's personal nature emerges?
Kevin Dutton, a psychologist and writer specializing in the study of psychopathy
at the University of Oxford, says that among professionals, lawyers count the
second highest proportion of psychopaths, because of the opportunities the
career affords them to pursue their predilections.

Psychopaths crave feelings of power and control over other people. Many
display traits of grandiosity, narcissiscm, sociopathy and Machiavellianism.

We are not saying Kyle is a psychopath, as only a psychologist can classify
people. However, we see these traits in his behavior, and in the following, Kyle
appears to express a disturbing determination to exert power and control over
others:
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     0:00 / 0:49




Filing class actions on behalf of Ava Labs
Kyle Roche has been enabled to freely pursue his predilections, because of the
vast amount of wealth provided by Ava Labs. He says he can sue people:




“
      just for the sport of it

Kyle boasts how he can file class actions that attack those competing with Ava
Labs (Avalanche), such as Solana Labs, and the Dfinity Foundation, on behalf of
Ava Labs.

At the time we collected these recordings, Roche Freedman had already been
working on two class actions against Dfinity, and had filed one, but had not yet
filed its first class action against Solana. However, he has now filed a major
class action against Solana. Everything he said proved true.




“
      So, I can sue Solana!

Both the class actions filed so far against Solana and Dfinity make accusations
that their tokens are illegal securities.
           Case 3:21-cv-06118-JD Document 109-3 Filed 03/15/23 Page 60 of 87




     0:00 / 0:48




How Kyle Roche sees the legal system...
Kyle leverages the fact that judges and juries don't understand blockchain.




     0:00 / 0:30
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He has a colorful strategy for bamboozling juries and gaining their trust.




     0:00 / 0:31




He calls American juries "10 idiots." He feels confident that he can work these
"idiots" to control American class actions.




     0:00 / 0:29
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Earlier, when boasting about the large settlement he believed he could obtain
from one of his class actions, he seems to say that a key deciding factor would
be the interests of his law firm (i.e. his interests). Shouldn't the decision to settle
be based soley on the interests of the class of plaintiffs he is representing?




      0:00 / 0:17




Perhaps it's not surprising that he considers his own interests when deciding
how to conduct a case, because he describes one of his plaintiff classes —
people who lost money in crypto — as "100,000 idiots."
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     0:00 / 0:23




Emin and Kyle's "iLO" horror
Class action lawsuits can be very destructive. They impose vicious legal costs
on those being attacked that they cannot reclaim, drain attention better used for
productive purposes, and can impose terrible stress for years, including on the
famililies of those targeted. Class action frameworks are not intended for use
"just for the sport of it," or as a "strategic tool to competition," as Kyle Roche
suggests.

They are also not intended as a means for ruthless people to squeeze money
out of good people, in the mode of patent trolling, say. That kind of thing should
have no place in Western democracies like America.

But to Emin Gün Sirer and Kyle Roche, litigation is just a for-profit opportunity.

They plan to create a new business on Avalanche, which will support the
creation of something called an Initial Litigation Offering, or iLO. The idea is that
lawyers like Kyle will be enabled to propose new class actions and other
litigations en masse, and then blockchain investors will fund the proposed
litigation by buying tokens to share in proceeds obtained through out-of-court
settlements and damages awards.
           Case 3:21-cv-06118-JD Document 109-3 Filed 03/15/23 Page 64 of 87
In this sociopathic business vision, litigation is just another financial asset, and
they want to provide a framework that makes it easy to mint as much as
possible. Kyle appears to spare no thought for the social impact of his plans.

For Kyle Roche:




“
      litigation is the most uncorrelated asset that exists, period




     0:00 / 0:23




CASE UPDATE — Evidence share
Newly obtained correspondence from Sam Wang, Ava Labs' Director of
Business Development, shows that as recently as last December, Ava Labs was
introducing Kyle Roche as:




“
      spearheading our litigation financing initiatives

This reflects how this effort is a joint venture between Ava Labs and Roche
Freedman, and how they work as an integrated team. This evidence also
strongly contrasts with Emin Gün Sirer's recent denials of close links to Roche
Freedman:
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Roche Freedman at war over its AVAX
Roche Freedman actually began as "Roche Cyrulnik Freedman". But according to
ex-partner Jason Cyrulnik, once it became apparent just how valuable their haul
of AVAX tokens and Ava Labs stock was, Kyle Roche and Devin Freedman
conspired to expel the older man from the partnership in February 2021 by out-
voting him, then keeping his almost 25% share for themselves.
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Now former partner Paul Fattaruso says he was hired on promise of 2% of the
firm's equity, but was not told of a secret agreement between five of the partners
(Kyle Roche, Devin Freedman, Amos Friedland, Nathan Holcomb and Edward
Normand) to share the AVAX tokens and Ava Labs stock exclusively between
themselves. These claims are now subject to numerous ongoing lawsuits.

The moral of the story is: be careful in your choice of colleagues.

CASE UPDATE — Evidence share
It was internal warfare within Roche Freedman that provided us with early hard
evidence regarding the nefarious goings-on. In particular, we share a lawsuit
filed by Jason Cyrulnik against his old partners, https://cryptoleaks.info/cyrulnik-
vs-rochefreedman.pdf. This contained an early internal Roche Freedman MOU,
which detailed how the AVAX tokens they received would be divided.

A payment of between 4-5M AVAX tokens was made monthly over three years,
terminating September 2022.




Brad Garlinghouse lit the fuse
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Before Kyle Roche founded Roche Freedman and made a pact with Ava Labs, he
was a relatively lowly associate at the law firm Boies Schiller Flexner. They were
representing Ripple, who were defending a lawsuit claiming their XRP token was
an illegal security. According to Kyle, he proposed to their CEO, Brad
Garlinghouse, that he create a new law firm that would specialize in suing others
in crypto, using exactly the same kinds of tactics that were being used against
Ripple. Kyle asked that Brad become his angel investor, and curiously Brad
agreed — one might have expected he would want to see less of this kind of
litigation across the industry.

For whatever reasons Brad Garlinghouse invested in Kyle Roche, and
supported him on his current path, it certainly didn't save him from the SEC.
Ripple's current travails might be a bad omen for Emin Gün Sirer.


Remedies and conclusion
For anyone who cares about crypto and the blockchain industry, Crypto Leaks
Case #3 should be a watershed moment. The movement was created by
visionaries, theoreticians, engineers and true believers. People with integrity. But
the value creation brought in cowboys and ruthless opportunists, who are just
out to make money, whatever it takes. These people don't care about crypto and
blockchain, and what it stands for. They only care about themselves.

We have enough bad people in crypto already. Three Arrows Capital had highly
vocal and popular leaders, who played Pied Piper to the masses, but behind the
scenes they ran their hedge fund like a Ponzi scheme. Those same masses have
now lost billions that they thought were safe in cryto banks. People in crypto
deserve an industry where not everything is smoke and mirrors, and where they
can trust other people's integrity.

We must demand change.

Cornell University
Emin Gün Sirer has traded relentlessly on his "professor at Cornell" status, using
Cornell's brand to convince the masses that he primarily cares about the
advancement of blockchain science and has special technical skills. In fact, his
real modus operandi is more Professor Moriarty, who tries to get Ava Labs and
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Avalanche ahead through clandestine attacks on competitors that involve
secretly weaponizing the legal system, as well as the pursuit of personal
vendettas. Cornell must decide whether it wants its reputation wielded for profit
by someone who seemingly operates without a moral compass. He uses their
brand to cloak himself, which directly supports his deceptive self-promotion, and
masks his Machiavellian schemes, which damages individuals and their families
and the wider crypto and blockchain community and industry. Cornell will not
want to be part of this charade.

Here is Emin's pinned tweet, which reflects how he has branded himself since
launching Ava Labs and Avalanche:

         Emin Gün Sirer
         @el33th4xor · Follow

  So many academics forget that our goal, as a profession,
  is *not* to publish papers. It's to change the world.
  5:09 AM · May 23, 2018

      10K         Reply         Share

                                Read 1.6K replies



Andreessen Horowitz and Polychain
In the realm of traditonal startup companies, venture capitalists used to only
invest in one project in each segment, so that they were never exposed to the
conflict of interest involved in backing competing companies. Crypto changed
all of that, with some venture capitalists investing widely into native blockchain
tokens, seeing that a rising tide was "floating all boats," and to make sure they
had holdings in the few that would make it big. Now the check has come due,
and with the release of this report, some will now find that they have
unknowingly funded a project making unacceptable, clandestine, industry-
damaging and clearly immoral attacks on competitive projects that they also
backed (for example, both Andreessen Horowitz and Polychain recently threw
massive resources behind Solana Labs, a key target of Roche Freedman and
Ava Labs). They must now do the honorable thing, and help protect the industry
and projects that have made them so much money, by vocally disowning Ava
Labs.
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Lawyers working for Roche Freedman
The legal system is a fundamental pillar of any democratic society, and its
integrity is something we must cherish and protect. But Roche Freedman has
perverted the role of a law firm, subverting and weaponizing the legal system
thereby promoting the value of blockchain tokens and stock owned by a few of
its partners. It undermines everything that makes the legal profession
honorable. Lawyers working at Roche Freedman who were previously unaware
of this behavior will not wish to condone it, accept a leader that lacks a moral
compass, or work for a law firm with a hidden purpose. Most lawyers do not go
through law school to end up living "Better Call Saul."

The American Bar Association
The mission statement of The American Bar Association is: "to serve equally our
members, our profession and the public by defending liberty and delivering
justice as the national representative of the legal profession." They advocate for
the profession as a whole, and the thousands of lawyers who work with integrity
within society's understanding of what being a lawyer entails. The ABA works to
"increase public understanding of and respect for the rule of law, the legal
process, and the role of the legal profession." This is entirely incompatible with
defending those people who have decided to follow "a completely different way
then being a lawyer," by weaponizing and perverting the legal system for
personal gain, which is also an assault on liberty and justice.

American Regulators (SEC, CFTC...)
Roche Freedman and Ava Labs are attemping to make fools out of regulators.
Through their nefarious weaponization of the legal system, they wish to
manipulate regulators by drawing them to competitors, and away from their own
activities. This behavior will undermine everyone's faith in the fairness of the
regulatory system. Good actors will fear that unscrupulous competitors have
bought unscrupulous lawyers using hundreds of millions of dollars worth of
crypto assets, and that they are misusing the regulatory system to paint them as
targets for regulators, both to harm them, and distract regulators from their own
wrongdoings.

Ava Labs shareholders and executives
According to the evidence shared in this case study, Emin Gün Sirer has used
company resources to pursue his personal vendettas, which may now result in
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reprisals that directly undermine shareholder value. This is a clear breach of
fiduciary duty. When any leader runs out of control in this way, it is time for them
to go. For example, John Wu, the President, could be made CEO, and Emin Gün
Sirer could be removed from his post to restore confidence. This will enable the
organization to reset its reputation and proceed in a more business-like manner.

Developers building on Avalanche
Once upon a time, those driving the blockchain project were pursuing dreams.
They met and discussed designs, they cooperated and collaborated, and they
were passionate about what was possible. But it wasn't long before the
opportunists came hunting, and they learned how to dress themselves in the
clothes of those they joined. There are many projects in the blockchain space
today, which often have dramatically different visions and approaches to R&D
and marketing. Some also have different moral compasses. Tech has always
been highly competitive, but the winners do not generally compromise their
integrity. When the smoke eventually clears, it will be seen that authenticity and
passion really count. Developers will prefer to work on a platform where they
can be proud of the team, ecosystem and ethos. Those that wish to stay with
Avalanche will demand change.

The crypto press
Most participants in the blockchain industry do not realize quite how focused
the crypto press is on promoting vested interests. It may come as a surprise to
many that not only did the crypto press fail to report on our previous cases (see
Case #1 and Case #2) but some parts actively suppressed information about
them. For example, to address the lack of reporting, we recently attempted to
purchase a paid press release on Cointelegraph, as others do, but were
mysteriously blocked, presumably to protect those our cases reference.
Meanwhile, Roche Freedman were able to purchase a paid press release on
Cointelegraph freely, which they then used to distribute misleading statements
to millions of users through Google news feeds.

Our revealing exposé of Arkham Intelligence (Case #2) was not reported on at all
by the crypto press. The exposé has led to a defamation lawsuit being filed
against Arkham and the New York Times, but this has only been reported on in
the mainstream press by Politico . Today, DeFi and CeFi organizations once
lauded unquestioningly by the crypto press have caused multi-billion dollar
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losses to retail investors, and it is time to move on towards fairer plains. This is
the only way our industry will ever reach maturity. We ask the crypto press to
report objectively on this case investigation. The videos speak for themselves
and tell a clear story that everyone in crypto needs to be aware of.

Those being sued by Roche Freedman
With the release of Crypto Leaks Case #3, those being sued by Roche Freedman
know the true measure of their adversary. They should respond accordingly, and
take the fight to the enemy. They should not settle. They must fight their corner
and make their case. Together they can weaken their adversary, and can help
make blockchain a better place.

Read other case investigations...
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            EXHIBIT C
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            EXHIBIT D
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Text-based Editing of Talking-head Video
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Fig. 1. We propose a novel text-based editing approach for talking-head video. Given an edited transcript, our approach produces a realistic output video in
which the dialogue of the speaker has been modified and the resulting video maintains a seamless audio-visual flow (i.e. no jump cuts).

Editing talking-head video to change the speech content or to remove filler                     large variety of edits, such as the addition, removal, and alteration of words,
words is challenging. We propose a novel method to edit talking-head video                      as well as convincing language translation and full sentence synthesis.
based on its transcript to produce a realistic output video in which the
dialogue of the speaker has been modified, while maintaining a seamless                         CCS Concepts: • Information systems → Video search; Speech / audio
audio-visual flow (i.e. no jump cuts). Our method automatically annotates                       search; • Computing methodologies → Computational photography; Re-
an input talking-head video with phonemes, visemes, 3D face pose and                            construction; Motion processing; Graphics systems and interfaces.
geometry, reflectance, expression and scene illumination per frame. To edit                     Additional Key Words and Phrases: Text-based video editing, talking heads,
a video, the user has to only edit the transcript, and an optimization strategy
                                                                                                visemes, dubbing, face tracking, face parameterization, neural rendering.
then chooses segments of the input corpus as base material. The annotated
parameters corresponding to the selected segments are seamlessly stitched                       ACM Reference Format:
together and used to produce an intermediate video representation in which                      Ohad Fried, Ayush Tewari, Michael Zollhöfer, Adam Finkelstein, Eli Shecht-
the lower half of the face is rendered with a parametric face model. Finally,                   man, Dan B Goldman, Kyle Genova, Zeyu Jin, Christian Theobalt, and Ma-
a recurrent video generation network transforms this representation to a                        neesh Agrawala. 2019. Text-based Editing of Talking-head Video. ACM Trans.
photorealistic video that matches the edited transcript. We demonstrate a                       Graph. 38, 4, Article 68 (July 2019), 14 pages. https://doi.org/10.1145/3306346.
                                                                                                3323028
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tute for Informatics; Michael Zollhöfer, Stanford University; Adam Finkelstein, Prince-
ton University; Eli Shechtman, Adobe; Dan B Goldman; Kyle Genova, Princeton Uni-                1   INTRODUCTION
versity; Zeyu Jin, Adobe; Christian Theobalt, Max Planck Institute for Informatics;
Maneesh Agrawala, Stanford University.
                                                                                                Talking-head video – framed to focus on the face and upper body
                                                                                                of a speaker – is ubiquitous in movies, TV shows, commercials,
Permission to make digital or hard copies of all or part of this work for personal or
                                                                                                YouTube video logs, and online lectures. Editing such pre-recorded
classroom use is granted without fee provided that copies are not made or distributed           video is challenging, but can be needed to emphasize particular
for profit or commercial advantage and that copies bear this notice and the full citation       content, remove filler words, correct mistakes, or more generally
on the first page. Copyrights for components of this work owned by others than the
author(s) must be honored. Abstracting with credit is permitted. To copy otherwise, or          match the editor’s intent. Using current video editing tools, like
republish, to post on servers or to redistribute to lists, requires prior specific permission   Adobe Premiere, skilled editors typically scrub through raw video
and/or a fee. Request permissions from permissions@acm.org.                                     footage to find relevant segments and assemble them into the desired
© 2019 Copyright held by the owner/author(s). Publication rights licensed to ACM.
0730-0301/2019/7-ART68 $15.00                                                                   story. They must carefully consider where to place cuts so as to
https://doi.org/10.1145/3306346.3323028                                                         minimize disruptions to the overall audio-visual flow.

                                                                                                           ACM Trans. Graph., Vol. 38, No. 4, Article 68. Publication date: July 2019.
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   Berthouzoz et al. [2012] introduce a text-based approach for edit-         imperfections of the 3D face model. For example, facial appearance
ing such videos. Given an input video, they obtain a time-aligned             does not perfectly match, dynamic high-frequency detail is missing,
transcript and allow editors to cut and paste the text to assemble it         and the mouth interior is absent. Nonetheless, these data are suf-
into the desired story. Their approach can move or delete segments,           ficient cues for a new learned recurrent video generation network
while generating visually seamless transitions at cut boundaries.             to be able to convert them to realistic imagery. The new composite
However, this method only produces artifact-free results when these           representation and the recurrent network formulation significantly
boundaries are constrained to certain well-behaved segments of the            extend the neural face translation approach of Kim et al. [2018b] to
video (e.g. where the person sits still between phrases or sentences).        text-based editing of existing videos.
   Neither conventional editing tools nor the text-based approach                We show a variety of text-based editing results and favorable
allow synthesis of new audio-visual speech content. Thus, some                comparisons to previous techniques. In a crowd-sourced user study,
modifications require either re-shooting the footage or overdubbing           our edits were rated to be real in 59.6% of cases. The main technical
existing footage with new wording. Both methods are expensive                 contributions of our approach are:
as they require new performances, and overdubbing generally pro-
                                                                                    • A text-based editing tool for talking-head video that lets edi-
duces mismatches between the visible lip motion and the audio.
                                                                                      tors insert new text, in addition to cutting and copy-pasting
   This paper presents a method that completes the suite of opera-
                                                                                      in an existing transcript.
tions necessary for transcript-based editing of talking-head video.
                                                                                    • A dynamic programming based strategy tailored to video syn-
Specifically, based only on text edits, it can synthesize convincing
                                                                                      thesis that assembles new words based on snippets containing
new video of a person speaking, and produce seamless transitions
                                                                                      sequences of observed visemes in the input video.
even at challenging cut points such as the middle of an utterance.
                                                                                    • A parameter blending scheme that, when combined with our
   Our approach builds on a thread of research for synthesizing
                                                                                      synthesis pipeline, produces seamless talking heads, even
realistic talking-head video. The seminal Video Rewrite system of
                                                                                      when combining snippets with different pose and expression.
Bregler et al. [1997] and the recent Synthesizing Obama project of
                                                                                    • A recurrent video generation network that converts a com-
Suwajanakorn et al. [2017] take new speech recordings as input,
                                                                                      posite of real background video and synthetically rendered
and superimpose the corresponding lip motion over talking-head
                                                                                      lower face into a photorealistic video.
video. While the latter state-of-the art approach can synthesize fairly
accurate lip sync, it has been shown to work for exactly one talking
head because it requires huge training data (14 hours). This method           1.1    Ethical Considerations
also relies on input audio from the same voice on which it was                Our text-based editing approach lays the foundation for better edit-
trained – from either Obama or a voice impersonator. In contrast              ing tools for movie post production. Filmed dialogue scenes often
our approach works from text and therefore supports applications              require re-timing or editing based on small script changes, which
that require a different voice, such as translation.                          currently requires tedious manual work. Our editing technique also
   Performance-driven puppeteering and dubbing methods, such as               enables easy adaptation of audio-visual video content to specific
VDub [Garrido et al. 2015], Face2Face [Thies et al. 2016] and Deep            target audiences: e.g., instruction videos can be fine-tuned to audi-
Video Portraits [Kim et al. 2018b], take a new talking-head perfor-           ences of different backgrounds, or a storyteller video can be adapted
mance (usually from a different performer) as input and transfer              to children of different age groups purely based on textual script
the lip and head motion to the original talking-head video. Because           edits. In short, our work was developed for storytelling purposes.
these methods have access to video as input they can often produce               However, the availability of such technology — at a quality that
higher-quality synthesis results than the audio-only methods. Nev-            some might find indistinguishable from source material — also raises
ertheless, capturing new video for this purpose is obviously more             important and valid concerns about the potential for misuse. Al-
onerous than typing new text.                                                 though methods for image and video manipulation are as old as the
   Our method accepts text only as input for synthesis, yet builds on         media themselves, the risks of abuse are heightened when applied
the Deep Video Portraits approach of Kim et al. [2018b] to craft syn-         to a mode of communication that is sometimes considered to be
thetic video. Our approach drives a 3D model by seamlessly stitching          authoritative evidence of thoughts and intents. We acknowledge
different snippets of motion tracked from the original footage. The           that bad actors might use such technologies to falsify personal state-
snippets are selected based on a dynamic programming optimization             ments and slander prominent individuals. We are concerned about
that searches for sequences of sounds in the transcript that should           such deception and misuse.
look like the words we want to synthesize, using a novel viseme-                 Therefore, we believe it is critical that video synthesized using
based similarity measure. These snippets can be re-timed to match             our tool clearly presents itself as synthetic. The fact that the video
the target viseme sequence, and are blended to create a seamless              is synthesized may be obvious by context (e.g. if the audience un-
mouth motion. To synthesize output video, we first create a syn-              derstands they are watching a fictional movie), directly stated in
thetic composite video in which the lower face region is masked out.          the video or signaled via watermarking. We also believe that it is es-
In cases of inserting new text, we retime the rest of the face and back-      sential to obtain permission from the performers for any alteration
ground from the boundaries. The masked out region is composited               before sharing a resulting video with a broad audience. Finally, it is
with a synthetic 3D face model rendering using the mouth motion               important that we as a community continue to develop forensics,
found earlier by optimization (Figure 5). The composite exhibits the          fingerprinting and verification techniques (digital and non-digital)
desired motion, but lacks realism due to the incompleteness and               to identify manipulated video. Such safeguarding measures would

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                                                                                                          Text-based Editing of Talking-head Video •      68:3


reduce the potential for misuse while allowing creative uses of video     of the video content for segmentation of B-roll footage [Truong et al.
editing technologies like ours.                                           2016] and generate structured summaries of lecture videos [Pavel
   We hope that publication of the technical details of such systems      et al. 2014]. Leake et al. [2017] use the structure imposed by time-
can spread awareness and knowledge regarding their inner work-            aligned transcripts to automatically edit together multiple takes of
ings, sparking and enabling associated research into the aforemen-        a scripted scene based on higher-level cinematic idioms specified
tioned forgery detection, watermarking and verification systems.          by the editor. Berthouzoz et al.’s [2012] tool for editing interview-
Finally, we believe that a robust public conversation is necessary to     style talking-head video by cutting, copying and pasting transcript
create a set of appropriate regulations and laws that would balance       text is closest to our work. While we similarly enable rearranging
the risks of misuse of these tools against the importance of creative,    video by cutting, copying and pasting text, unlike all of the previous
consensual use cases.                                                     text-based editing tools, we allow synthesis of new video by simply
                                                                          typing the new text into the transcript.
2   RELATED WORK
                                                                             Audio Synthesis. In transcript-based video editing, synthesizing
   Facial Reenactment. Facial video reenactment has been an ac-
                                                                          new video clips would often naturally be accompanied by audio
tive area of research [Averbuch-Elor et al. 2017; Garrido et al. 2014;
                                                                          synthesis. Our approach to video is independent of the audio, and
Kemelmacher-Shlizerman et al. 2010; Li et al. 2014; Liu et al. 2001;
                                                                          therefore a variety of text to speech (TTS) methods can be used.
Suwajanakorn et al. 2017; Vlasic et al. 2005]. Thies et al. [2016]
                                                                          Traditional TTS has explored two general approaches: parametric
recently demonstrated real-time video reenactment. Deep video
                                                                          methods (e.g. [Zen et al. 2009]) generate acoustic features based
portraits [Kim et al. 2018b] enables full control of the head pose, ex-
                                                                          on text, and then synthesize a waveform from these features. Due
pression, and eye gaze of a target actor based on recent advances in
                                                                          to oversimplified acoustic models, they tend to sound robotic. In
learning-based image-to-image translation [Isola et al. 2017]. Some
                                                                          contrast, unit selection is a data driven approach that constructs
recent approaches enable the synthesis of controllable facial ani-
                                                                          new waveforms by stitching together small pieces of audio (or units)
mations from single images [Averbuch-Elor et al. 2017; Geng et al.
                                                                          found elsewhere in the transcript [Hunt and Black 1996]. Inspired by
2018; Wiles et al. 2018]. Nagano et al. [2018] recently showed how
                                                                          the latter, the VoCo project of Jin et al. [2017] performs a search in the
to estimate a controllable avatar of a person from a single image. We
                                                                          existing recording to find short ranges of audio that can be stitched
employ a facial reenactment approach for visualizing our text-based
                                                                          together such that they blend seamlessly in the context around an
editing results and show how facial reenactment can be tackled by
                                                                          insertion point. Section 4 and the accompanying video present a few
neural face rendering.
                                                                          examples of using our method to synthesize new words in video,
   Visual Dubbing. Facial reenactment is the basis for visual dub-        coupled with the use of VoCo to synthesize corresponding audio.
bing, since it allows to alter the expression of a target actor to        Current state-of-the-art TTS approaches rely on deep learning [Shen
match the motion of a dubbing actor that speaks in a different lan-       et al. 2018; Van Den Oord et al. 2016]. However, these methods
guage. Some dubbing approaches are speech-driven [Bregler et al.          require a huge (tens of hours) training corpus for the target speaker.
1997; Chang and Ezzat 2005; Ezzat et al. 2002; Liu and Ostermann
                                                                             Deep Generative Models. Very recently, researchers have proposed
2011] others are performance-driven [Garrido et al. 2015]. Speech-
                                                                          Deep Generative Adversarial Networks (GANs) for the synthesis of
driven approaches have been shown to produce accurate lip-synced
                                                                          images and videos. Approaches create new images from scratch
video [Suwajanakorn et al. 2017]. While this approach can synthe-
                                                                          [Chen and Koltun 2017; Goodfellow et al. 2014; Karras et al. 2018;
size fairly accurate lip-synced video, it requires the new audio to
                                                                          Radford et al. 2016; Wang et al. 2018b] or condition the synthesis
sound similar to the original speaker, while we enable synthesis
                                                                          on an input image [Isola et al. 2017; Mirza and Osindero 2014].
of new video using text-based edits. Mattheyses et al. [2010] show
                                                                          High-resolution conditional video synthesis [Wang et al. 2018a]
results with no head motion, in a controlled setup with uniform
                                                                          has recently been demonstrated. Besides approaches that require
background. In contrast, our 3D based approach and neural renderer
                                                                          a paired training corpus, unpaired video-to-video translation tech-
can produce subtle phenomena such as lip rolling, and works in a
                                                                          niques [Bansal et al. 2018] only require two training videos. Video-to-
more general setting.
                                                                          video translation has been used in many applications. For example,
   Speech animation for rigged models. Several related methods pro-       impressive results have been shown for the reenactment of the hu-
duce animation curves for speech [Edwards et al. 2016; Taylor et al.      man head [Olszewski et al. 2017], head and upper body [Kim et al.
2017; Zhou et al. 2018]. They are specifically designed for animated      2018b], and the whole human body [Chan et al. 2018; Liu et al. 2018].
3D models and not for photorealistic video, requiring a character rig
and artist supplied rig correspondence. In contrast, our approach            Monocular 3D Face Reconstruction. There is a large body of work
“animates” a real person speaking, based just on text and a monocular     on reconstructing facial geometry and appearance from a single im-
recording of the subject.                                                 age using optimization methods [Fyffe et al. 2014; Garrido et al. 2016;
                                                                          Ichim et al. 2015; Kemelmacher-Shlizerman 2013; Roth et al. 2017;
   Text-Based Video and Audio Editing. Researchers have developed         Shi et al. 2014; Suwajanakorn et al. 2017; Thies et al. 2016]. Many
a variety of audio and video editing tools based on time-aligned tran-    of these techniques employ a parametric face model [Blanz et al.
scripts. These tools allow editors to shorten and rearrange speech for    2004; Blanz and Vetter 1999; Booth et al. 2018] as a prior to better
audio podcasts [Rubin et al. 2013; Shin et al. 2016], annotate video      constrain the reconstruction problem. Recently, deep learning-based
with review feedback [Pavel et al. 2016], provide audio descriptions      approaches have been proposed that train a convolutional network

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                                  Preprocessing                                                                                                    Background
                                                                                                                                                   Retiming




                                                                                                        Head
                                                   DH IY0 K W IH1 K sp B R AW1 N                     Parameters      Model
           The quick brown ...                     Phoneme Alignment                       Tracking & Reconstruction
              Input video


           The quick brown                  The quick brown spider ...             brown        v           ox         jumped
           spider jumped                    ... viper ... ox ...
             fox
            Edit Operation                        f ox
                                                             Viseme Search                   Parameter Blending                              Rendering

Fig. 2. Method overview. Given an input talking-head video and a transcript, we perform text-based editing. We first align phonemes to the input audio and
track each input frame to construct a parametric head model. Then, for a given edit operation (changing spider to fox), we find segments of the input video
that have similar visemes to the new word. In the above case we use viper and ox to construct fox. We use blended head parameters from the corresponding
video frames, together with a retimed background sequence, to generate a composite image, which is used to generate a photorealistic frame using our neural
face rendering method. In the resulting video, the actress appears to be saying fox, even though that word was never spoken by her in the original recording.


to directly regress the model parameters [Dou et al. 2017; Genova                    perform a viseme search (Section 3.3) to find the best visual match
et al. 2018; Richardson et al. 2016; Tewari et al. 2018a, 2017; Tran                 between the subsequences of phonemes in the edit and subsequences
et al. 2017]. Besides model parameters, other approaches regress                     of phonemes in the input video. We also extract a region around the
detailed depth maps [Richardson et al. 2017; Sela et al. 2017], or 3D                edit location to act as a background sequence, from which we will
displacements [Cao et al. 2015; Guo et al. 2018; Tewari et al. 2018b].               extract background pixels and pose data. For each subsequence we
Face reconstruction is the basis for a large variety of applications,                blend the parameters of the tracked 3D head model (Section 3.4) and
such as facial reenactment and visual dubbing. For more details on                   then use the resulting parameter blended animation of the 3D head,
monocular 3D face reconstruction, we refer to Zollhöfer et al. [2018].               together with the background pixels, to render a realistic full-frame
                                                                                     video (Section 3.5) in which the subject appears to say the edited
3    METHOD                                                                          sequence of words. Our viseme search and approach for combining
Our system takes as input a video recording of a talking head with a                 shorter subsequences with parameter blending is motivated by the
transcript of the speech and any number of edit operations specified                 phoneme/viseme distribution of the English language (Appendix A).
on the transcript. Our tool supports three types of edit operations;
     • Add new words: the edit adds one or more consecutive words
                                                                                     3.1    Phoneme Alignment
       at a point in the video (e.g. because the actor skipped a word                Phonemes are perceptually distinct units that distinguish one word
       or the producer wants to insert a phrase).                                    from another in a specific language. Our method relies on phonemes
     • Rearrange existing words: the edit moves one or more con-                     to find snippets in the video that we later combine to produce new
       secutive words that exist in the video (e.g. for better word                  content. Thus, our first step is to compute the identity and timing
       ordering without introducing jump cuts).                                      of phonemes in the input video. To segment the video’s speech
     • Delete existing words: the edit removes one or more consec-                   audio into phones (audible realizations of phonemes), we assume
       utive words from the video (e.g. for simplification of wording                we have an accurate text transcript and align it to the audio using
       and removing filler such as “um” or “uh”).                                    P2FA [Rubin et al. 2013; Yuan and Liberman 2008], a phoneme-based
                                                                                     alignment tool. This gives us an ordered sequence V = (v1 , . . . , vn )
We represent editing operations by the sequence of words W in
                                                                                     of phonemes, each with a label denoting the phoneme name, start
the edited region as well as the correspondence between those
                                                                                     time, and end time vi = (vilbl , viin , viout ). Note that if a transcript is not
words and the original transcript. For example, deleting the word
                                                                                     given as part of the input, we can use automatic speech transcription
“wonderful” in the sequence “hello wonderful world” is specified as
                                                                                     tools [IBM 2016; Ochshorn and Hawkins 2016] or crowdsourcing
(‘hello’, ‘world’) and adding the word “big” is specified as (‘hello’,
                                                                                     transcription services like rev.com to obtain it.
‘big’, ‘world’).
   Our system processes these inputs in five main stages (Figure 2).
In the phoneme alignment stage (Section 3.1) we align the transcript                 3.2    3D Face Tracking and Reconstruction
to the video at the level of phonemes and then in the tracking and                   We register a 3D parametric face model with each frame of the input
reconstruction stage (Section 3.2) we register a 3D parametric head                  talking-head video. The parameters of the model (e.g. expression,
model with the video. These are pre-processing steps performed                       head pose, etc.) will later allow us to selectively blend different as-
once per input video. Then for each edit operation W we first                        pects of the face (e.g. take the expression from one frame and pose

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                                                                                                             Text-based Editing of Talking-head Video •      68:5


from another). Specifically, we apply recent work on monocular               Table 1. Grouping phonemes (listed as ARPABET codes) into visemes. We
model-based face reconstruction [Garrido et al. 2016; Thies et al.           use the viseme grouping of Annosoft’s lipsync tool [Annosoft 2008]. More
2016]. These techniques parameterize the rigid head pose T ∈ SE(3),          viseme groups may lead to better visual matches (each group is more specific
                                                                             in its appearance), but require more data because the chance to find a viseme
the facial geometry α ∈ R80 , facial reflectance β ∈ R80 , facial ex-
                                                                             match decreases. We did not perform an extensive evaluation of different
pression δ ∈ R64 , and scene illumination γ ∈ R27 . Model fitting is
                                                                             viseme groupings, of which there are many.
based on the minimization of a non-linear reconstruction energy.
For more details on the minimization, please see the papers of Gar-
                                                                               v01   AA0, AA1, AA2                               v09    Y, IY0, IY1, IY2
rido et al. [2016] and Thies et al. [2016]. In total, we obtain a 257
                                                                               v02   AH0, AH1, AH2, HH                           v10    R, ER0, ER1, ER2
parameter vector p ∈ R257 for each frame of the input video.
                                                                               v03   AO0, AO1, AO2                               v11    L
                                                                               v04   AW0, AW1, AW2, OW0,                         v12    W
                                                                                     OW1, OW2                                    v13    M, P, B
3.3   Viseme Search
                                                                               v05   OY0, OY1, OY2, UH0, UH1,                    v14    N, NG, DH, D, G,
Given an edit operation specified as a sequence of words W, our                      UH2, UW0, UW1, UW2                                 T, Z, ZH, TH, K, S
goal is to find matching sequences of phonemes in the video that can           v06   EH0, EH1, EH2, AE0, AE1, AE2                v15    CH, JH, SH
be combined to produce W. In the matching procedure we use the                 v07   IH0, IH1, IH2, AY0, AY1, AY2                v16    F, V
fact that identical phonemes are expected to be, on average, more              v08   EY0, EY1, EY2                               v17    sp
visually similar to each other than non-identical phonemes (despite
co-articulation effects). We similarly consider visemes, groups of
aurally distinct phonemes that appear visually similar to one another        phoneme lengths in our swap cost
(Section 3.3), as good potential matches. Importantly, the matching
procedure cannot expect to find a good coherent viseme sequence in              Cswap (vi , wj ) = Cvis (vi , wj )(| vi | + | wj |) + χ | vi | − | wj |       (1)
the video for long words or sequences in the edit operation. Instead,        where |a| denotes the length of phoneme a, Cvis (vi , wj ) is 0 if vi
we must find several matching subsequences and a way to best                 and wj are the same phoneme, 0.5 if they are different phonemes
combine them.                                                                but the same viseme (Section 3.3), and 1 if they are different visemes.
   We first convert the edit operation W to a phoneme sequence               The parameter χ controls the influence of length difference on the
W = (w1 , . . . , wm ) where each wi is defined as (wilbl , wiin , wiout )   cost, and we set it to 10−4 in all our examples. Equation (1) penalized
similar to our definition of phonemes in the video vi . We can convert       for different phonemes and visemes, weighted by the sum of the
the text W to phoneme labels wilbl using a word to phoneme map,              phoneme length. Thus longer non-matching phonemes will incur a
but text does not contain timing information wiin , wiout . To obtain        larger penalty, as they are more likely to be noticed.
timings we use a text-to-speech synthesizer to convert the edit into            We minimize Cmatch (Wi , V) over all possible V⋆ using dynamic
speech. For all results in this paper we use either the built-in speech      programming [Levenshtein 1966] to find the best suffix of any prefix
synthesizer in Mac OS X, or Voco [Jin et al. 2017]. Note however             of V and its matching cost to Wi . We brute-force all possible prefixes
that our video synthesis pipeline does not use the audio signal, but         of V to find the best match Vi to the query Wi .
only its timing. So, e.g., manually specified phone lengths could be
used as an alternative. The video generated in the rendering stage             Matching the full query. We define our full matching cost C be-
of our pipeline (Section 3.5) is mute and we discuss how we can add          tween the query W and the video V as
audio at the end of that section. Given the audio of W, we produce                                                  k
                                                                                                                    Õ
phoneme labels and timing using P2FA, in a manner similar to the              C(W, V) =              min                 Cmatch (Wi , Vi ) + Clen (Wi ) (2)
                                                                                            (W1, ...,Wk )∈split(W)
one we used in Section 3.1.                                                                       (V1, ...,Vk )
                                                                                                                   i=1
   Given an edit W and the video phonemes V, we are looking for the
optimal partition of W into sequential subsequences W1 , . . . , Wk ,        where split(W) denotes the set of all possible ways of splitting
such that each subsequence has a good match in V, while encour-              W into subsequences, and Vi is the best match for Wi according
aging subsequences to be long (Figure 4). We are looking for long            to Cmatch . The cost Clen (Wi ) penalizes short subsequences and is
subsequences because each transition between subsequences may                defined as
                                                                                                                          ϕ
cause artifacts in later stages. We first describe matching one subse-                                     Clen (Wi ) =                             (3)
                                                                                                                         |Wi |
quence Wi = (wj , . . . , wj+k ) to the recording V, and then explain
how we match the full query W.                                               where |Wi | denotes the number of phonemes in subsequence Wi
                                                                             and ϕ is a weight parameter empirically set to 0.001 for all our exam-
                                                                             ples. To minimize Equation (2) we generate all splits (W1 , . . . , Wk ) ∈
   Matching one subsequence. We define Cmatch (Wi , V⋆ ) between a           split(W) of the query (which is typically short), and for each Wi
subsequence of the query Wi and some subsequence of the video V⋆             we find the best subsequence Vi of V with respect to Cmatch . Since
as a modified Levenshtein edit distance [Levenshtein 1966] between           the same subsequence Wi can appear in multiple partitions, we
phoneme sequences that takes phoneme length into account. The                memoize computations to make sure each match cost is computed
edit distance requires pre-defined costs for insertion, deletion and         only once. The viseme search procedure produces subsequences
swap. We define our insertion cost Cinsert = 1 and deletion cost             (V1 , . . . , Vk ) of the input video that, when combined, should pro-
Cdelete = 1 and consider viseme and phoneme labels as well as                duce W.

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                         OF               FRE                       NCH T                    OAST                       IN
          Original
           Render
          Synthesized




Fig. 3. Our parameter blending strategy produces a seamless synthesized result from choppy original sequences. Above, we insert the expression “french toast”
instead of “napalm” in the sentence “I like the smell of napalm in the morning.” The new sequence was taken from different parts of the original video: F
R EH1 taken from “fresh”, N CH T taken from “drenched”, and OW1 S T taken from “roast”. Notice how original frames from different sub-sequences are
different in head size and posture, while our synthesized result is a smooth sequence. On the right we show the pixel difference between blue and red frames;
notice how blue frames are very different. Videos in supplemental material.


      Query                                              W                        background sequence B and use it for pose data and background pix-
                                                                                  els. The background sequence allows us to edit challenging videos
      Split                          W1                      W2                   with hair movement and slight camera motion.
                        w1      w5                 w6              w12
      Match                                                                          Background retiming and pose extraction. An edit operation W
                                                                              V
                                                                                  will often change the length of the original video. We take a video
                        v1      v5                  v6              v12           sequence (from the input video) B ′ around the location of the edit
                                                                                  operation, and retime it to account for the change in length the
                        w1                         w12
       Retime                                                                     operation will produce, resulting in a retimed background sequence
                                                                                  B. We use nearest-neighbor sampling of frames, and select a large
                        v1                         v12                            enough region around the edit operation so that retiming artifacts
                                                                                  are negligible. All edits in this paper use the length of one sentence
Fig. 4. Viseme search and retiming. Given a query sequence W, We split            as background. The retimed sequence B does not match the original
it into all possible subsequences, of which one (W1, W2 ) ∈ split(W) is
                                                                                  nor the new audio, but can provide realistic background pixels and
shown. Each subsequence is matched to the input video V, producing a
                                                                                  pose parameters that seamlessly blend into the rest of the video. In
correspondance between query phonemes wi and input video phonemes
vi . We retime in parameter space to match the lengths of each vi to wi .         a later step we synthesize frames based on the retimed background
                                                                                  and expression parameters that do match the audio.

                                                                                     Subsequence retiming. The phonemes in each sequence vj ∈ Vi
                                                                                  approximately match the length of corresponding query phonemes,
3.4      Parameter Retiming & Blending                                            but an exact match is required so that the audio and video will
The sequence (V1 , . . . , Vk ) of video subsequences describes sections          be properly synchronized. We set a desired frame rate F for our
of the video for us to combine in order to create W. However, we                  synthesized video, which often matches the input frame-rate, but
cannot directly use the video frames that correspond to (V1 , . . . , Vk )        does not have to (e.g. to produce slow-mo video from standard video).
for two reasons: (1) A sequence Vi corresponds to part of W in                    Given the frame rate F , we sample model parameters p ∈ R257
viseme identity, but not in viseme length, which will produce un-                 by linearly interpolating adjacent frame parameters described in
natural videos when combined with the speech audio, and (2) Con-                  Section 3.2. For each vj ∈ Vi we sample F | wj | frame parameters
                                                                                       j , v j ] so that the length of the generated video matches the
                                                                                  in [vin
secutive sequences Vi and Vi+1 can be from sections that are far                            out
apart in the original video. The subject might look different in these            length of the query | wj |. This produces a sequence that matches W
parts due to pose and posture changes, movement of hair, or camera                in timing, but with visible jump cuts between sequences if rendered
motion. Taken as-is, the transition between consecutive sequences                 as-is (Figure 4 bottom).
will look unnatural (Figure 3 top).
   To solve these issues, we use our parametric face model in order                  Parameter blending. To avoid jump cuts, we use different strate-
to mix different properties (pose, expression, etc.) from different               gies for different parameters, as follows. Identity geometry α ∈ R80
input frames, and blend them in parameter space. We also select a                 and reflectance β ∈ R80 are kept constant throughout the sequence

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                                                                               Fig. 6. We assume the video has been generated by a sequential process,
 (a) Ground Truth (fi )     (b) Face & Mouth       (c) Synth. Comp. (ri )
                                                                               which we model by a recurrent network with shared generator G. In practice,
Fig. 5. Training Corpus: For each ground truth frame fi (a), we obtain a 3D    we unroll the loop three times.
face reconstruction. The reconstructed geometry proxy is used to mask out
the lower face region (b, left) and render a mouth mask mi (b, right), which
is used in our training reconstruction loss. We superimpose the lower face
region from the parametric face model to obtain a synthetic composite ri
(c). The goal of our expression-guided neural renderer is to learn a mapping
from the synthetic composite ri back to the ground truth frame fi .


(it’s always the same person), so they do not require blending. Scene
illumination γ ∈ R27 typically changes slowly or is kept constant,
thus we linearly interpolate illumination parameters between the
last frame prior to the inserted sequence and the first frame after
the sequence, disregarding the original illumination parameters of             Fig. 7. We employ a spatial discriminator Ds , a temporal discriminator Dt ,
Vi . This produces a realistic result while avoiding light flickering          and an adversarial patch-based discriminator loss to train our neural face
for input videos with changing lights. Rigid head pose T ∈ SE(3)               rendering network.
is taken directly from the retimed background sequence B. This
ensures that the pose of the parameterized head model matches the                                                N
                                                                               training corpus T = (fi , ri ) i=1 that consists of the N original
                                                                                                        
background pixels in each frame.                                               video frames fi and corresponding synthetic composites ri . The
    Facial expressions δ ∈ R64 are the most important parameters for           ri are generated as described in the last paragraph, but using the
our task, as they hold information about mouth and face movement               ground truth tracking information of the corresponding frame (Fig-
— the visemes we aim to reproduce. Our goal is to preserve the re-             ure 5), instead of the edited sequence, to render the lower face
trieved expression parameters as much as possible, while smoothing             region. The goal is to learn a temporally stable video-to-video map-
out the transition between them. Our approach is to smooth out                 ping (from ri to fi ) using a recurrent neural network (RNN) that is
each transition from Vi to Vi+1 by linearly interpolating a region             trained in an adversarial manner. We train one person-specific net-
of 67 milliseconds around the transition. We found this length to              work per input video. Inspired by the video-to-video synthesis work
be short enough so that individual visemes are not lost, and long              of Wang et al. [2018a], our approach assumes that the video frames
enough to produce convincing transitions between visemes.                      have been generated by a sequential process, i.e., the generation
                                                                               of a video frame depends only on the history of previous frames
3.5   Neural Face Rendering                                                    (Figure 6). In practice, we use a temporal history of size L = 2 in all
We employ a novel neural face rendering approach for synthesizing              experiments, so the face rendering RNN looks at L + 1 = 3 frames
photo-realistic talking-head video that matches the modified param-            at the same time. The best face renderer G ∗ is found by solving the
eter sequence (Section 3.4). The output of the previous processing             following optimization problem:
step is an edited parameter sequence that describes the new desired
facial motion and a corresponding retimed background video clip.                                G ∗ = arg min max L(G, Ds , Dt ) .                              (4)
                                                                                                            G      Ds , Dt
The goal of this synthesis step is to change the facial motion of the
retimed background video to match the parameter sequence. To                   Here, Ds is a per-frame spatial patch-based discriminator [Isola et al.
this end, we first mask out the lower face region, including parts of          2017], and Dt is a temporal patch-based discriminator. We train the
the neck (for the mask see Figure 5b), in the retimed background               recurrent generator and the spatial and temporal discriminator of
video and render a new synthetic lower face with the desired facial            our GAN in an adversarial manner, see Figure 7. In the following,
expression on top. This results in a video of composites ri (Figure 5d).       we describe our training objective L and the network components
Finally, we bridge the domain gap between ri and real video footage            in more detail.
of the person using our neural face rendering approach, which is                  Training Objective. For training our recurrent neural face render-
based on recent advances in learning-based image-to-image transla-             ing network, we employ stochastic gradient decent to optimize the
tion [Isola et al. 2017; Sun et al. 2018].                                     following training objective:
                                                                                L(G, Ds , Dt ) = E(fi,ri ) Lr (G) + λs Ls (G, Ds ) + λt Lt (G, Dt ) .
                                                                                                                                                  
3.5.1 Training the Neural Face Renderer. To train our neural face
rendering approach to bridge the domain gap we start from a paired                                                                                   (5)

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Here, Lr is a photometric reconstruction loss, Ls is a per-frame                    Table 2. Input sequences. We recorded three sequences, each about 1 hour
spatial adversarial loss, and Lt is our novel adversarial temporal                  long. The sequences contain ground truth sentences and test sentences
                                                          i
consistency loss that is based on difference images. Let fi−L denote                we edit, and also the first 500 sentences from the TIMIT dataset. We also
                                                                                    downloaded a 1.5 hour long interview from YouTube that contains camera
the tensor of video frames from frame fi−L to the current frame fi .
                                                                                    and hand motion, and an erroneous transcript. Seq2 and Seq3 are both 60fps.
The corresponding tensor of synthetic composites rii−L is defined in
                                                                                    Seq1 was recorded at 240fps, but since our method produces reasonable
a similar way. For each of the L + 1 time steps, we employ an ℓ1 -loss              results with lower frame rates, we discarded frames and effectively used
to enforce the photometric reconstruction of the ground truth:                      60fps. Seq4 is 25fps, and still produces good results.
                       L
                       Õ
         Lr (G) =           mi−L+l ⊗ fi−L+l − G(ci,l )     ,
                                                       
                                                                                                   Source                Transcript             Length
                                                         1
                       l =0                                                             Seq1   Our recording        Manually verified           ~1 hour
                                                i−L+l −1 
                            with ci,l = ri−L+l
                                         i−L , oi−L        .                  (6)       Seq2   Our recording        Manually verified           ~1 hour
                                                                                        Seq3   Our recording        Manually verified           ~1 hour
Here, the ci,l are the generator inputs for the current frame i and
                                                                                        Seq4     YouTube          Automatic (has errors)       ~1.5 hours
time step l, with oi−L+l
                   i−L
                          −1 being the tensor of output frames for the
previous time steps. ⊗ is the Hadamard product and mi−L+l is a
                                                                                      The rendering procedure produces photo-realistic video frames of
mouth re-weighting mask that gives a higher weight to photometric
                                                                                    the subject, appearing to speak the new phrase W . These localized
errors in the mouth region (Figure 5). The mask is 1 away from
                                                                                    edits seamlessly blend into the original video, producing an edited
the mouth, 10 for the mouth region, and has a smooth transition in
                                                                                    result, all derived from text.
between. Note the same generator G is shared across all time steps.
For each time step, missing outputs of non existent previous frames                    Adding Audio. The video produced by our pipeline is mute. To
(we only unroll 3 steps) and network inputs that are in the future                  add audio we use audio synthesized either by the built in speech
are replaced by zeros (Figure 6). In addition to the reconstruction                 synthesizer in Mac OS X, or by VoCo [Jin et al. 2017]. An alternative
loss, we also enforce a separate patch-based adversarial loss for each              is to obtain an actual recording of the performer’s voice. In this
frame:                                                                              scenario, we retime the resulting video to match the recording at
                   ÕL h                                                             the level of phones. Unless noted otherwise, all of our synthesis
    Ls (G, Ds ) =        log(Ds (ri−L+l , fi−L+l ))                                 results presented in the performer’s own voice are generated using
                        l =0                                                        this latter method. Note that for move and delete edits we use the
                                                                                    performer’s voice from the original video.
                                                                    i
                                   + log(1 − Ds (ri−L+l , G(ci,l ))) .        (7)

Note there exists only one discriminator network Ds , which is                      4     RESULTS
shared across all time steps. We also employ an adversarial temporal                We show results for our full approach on a variety of videos, both
consistency loss based on difference images [Martin-Brualla et al.                  recorded by ourselves and downloaded from YouTube (Section 4).
2018]:                                                                              We encourage the reader to view video results (with audio) in the
                          i                               i                         supplemental video and website, since our results are hard to evalu-
 Lt (G, Dt ) = log(Dt (r i−L , ∆i,l (f))) + log(1 − Dt (r i−L , ∆i,l (o))) .
                                                                                    ate from static frames.
                                                                          (8)
Here, ∆i,l (f) is the ground truth tensor and ∆i,l (o) the tensor of syn-              Runtime Performance. 3D face reconstruction takes 110ms per
thesized difference images. The operator ∆(•) takes the difference                  frame. Phoneme alignment takes 20 minutes for a 1 hour speech
of subsequent frames in the sequence:                                               video. Network training takes 42 hours. We train for 600K iteration
                                                                                    steps with a batch size of 1. Viseme search depends on the size
                            ∆i,l (x) = xii−L+1 − xi−1
                                                  i−L .                       (9)
                                                                                    of the input video and the new edit. For a 1 hour recording with
   Network Architecture. For the neural face rendering network, we                  continuous speech, viseme search takes between 10 minutes and 2
employ an encoder-decoder network with skip connections that is                     hours for all word insertion operations in this paper. Neural face
based on U-Net [Ronneberger et al. 2015]. Our spatial and temporal                  rendering takes 132ms per frame. All other steps of our pipeline
discriminators are inspired by Isola et al. [2017] and Wang et al.                  incur a negligible time penalty.
[2018a]. Our network has 75 million trainable parameters. All sub-
networks (G, Ds , Dt ) are trained from scratch, i.e., starting from                4.1    Video Editing
random initialization. We alternate between the minimization to                     Our main application is text-based editing of talking-head video.
train G and the maximization to train Ds as well as Dt . In each                    We support moving and deleting phrases, and the more challenging
iteration step, we perform both the minimization as well as the                     task of adding new unspoken words. A few examples of replacing
maximization on the same data, i.e., the gradients with respect to                  one or more words by unspoken word(s) are shown in Figure 1
the generator and discriminators are computed on the same batch                     and Figure 9. Our approach produces photo-realistic results with
of images. We do not add any additional weighting between the                       good audio to video alignment and a photo-realistic mouth interior
gradients with respect to the generator and discriminators as done                  including highly detailed teeth (Figure 10). For more examples of
in Isola et al. [2017]. The rest of the training procedure follows Isola            adding new words, and results for moves and deletes we refer to
et al. [2017]. For more architecture details, see Supplemental W13.                 the supplemental video and Supplemental W1–W4.

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Fig. 8. Comparison of different neural face rendering backends: We compare the output of our approach with a baseline that is trained based on input data as
proposed in Deep Video Portraits (DVP) [Kim et al. 2018b]. DVP does not condition on the background and thus cannot handle dynamic background. In
addition, this alternative approach fails if parts of the foreground move independently of the head, e.g., the hands. Our approach explicitly conditions on
the background and can thus handle these challenging cases with ease. In addition, our approach only has to spend capacity in the mouth region (we also
re-weight the reconstruction loss based on a mouth mask), thus our approach gives much sharper higher quality results. Video credit (middle): The Mind of The Universe.




Fig. 9. Our approach enables a large variety of text-based edits, such as deleting, rearranging, and adding new words. Here, we show examples of the most
challenging of the three scenarios, adding one or more unspoken words. As can be seen, our approach obtains high quality reenactments of the new words
based on our neural face rendering approach that converts synthetic composites into photo-real imagery. For video results we refer to the supplemental.


   Our approach enables us to seamlessly re-compose the modified                       4.2    Translation
video segments into the original full frame video footage, and to                      Besides text-based edits, such as adding, rearranging, and deleting
seamlessly blend new segments into the original (longer) video.                        words, our approach can also be used for video translation, as long
Thus our approach can handle arbitrarily framed footage, and is                        as the source material contains similar visemes to the target lan-
agnostic to the resolution and aspect ratio of the input video. It also                guage. Our viseme search pipeline is language agnostic. In order to
enables localized edits (i.e. using less computation) that do not alter                support a new language, we only require a way to convert words
most of the original video and can be incorporated into a standard                     into individual phonemes, which is already available for many lan-
editing pipeline. Seamless composition is made possible by our                         guages. We show results in which an English speaker appears to
neural face rendering strategy that conditions video generation on                     speak German (Supplemental W5).
the original background video. This approach allows us to accurately
reproduce the body motion and scene background (Figure 11). Other                      4.3    Full Sentence Synthesis Using Synthetic Voice
neural rendering approaches, such as Deep Video Portraits [Kim                         With the rise of voice assistants like Alexa, Siri and the Google As-
et al. 2018b] do not condition on the background, and thus cannot                      sistant, consumers have been getting comfortable with voice-based
guarantee that the body is synthesized at the right location in the                    interactions. We can use our approach to deliver corresponding
frame.                                                                                 video. Given a video recording of an actor who wishes to serve as
                                                                                       the face of the assistant, our tool could be used to produce the video
                                                                                       for any utterance such an assistant might make. We show results of
                                                                                       full sentence synthesis using the native Mac OS voice synthesizer

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Fig. 10. Our approach synthesizes the non-rigid motion of the lips at high
quality (even lip rolling is captured) given only a coarse computer graphics    Fig. 12. Evaluation of Parameter Blending: Without our parameter blending
rendering as input. In addition, our approach synthesizes a photorealistic      strategy, the editing results are temporally unstable. In this example, the
mouth interior including highly detailed teeth. The synthesis results are       mouth unnaturally closes instantly between two frames without blending,
temporally coherent, as can be seen in the supplemental video.                  while it closes smoothly with our blending approach.



                                                                                we test a self-reenactment scenario in which we compare the input
                                                                                frames to our result with varying training data size. We obtain errors
                                                                                (mean RMSE per-image) of 0.018 using 100%, 0.019 using 50% and
                                                                                0.021 using only 5% of the data (R,G,B ∈ [0, 1]). This result suggests
                                                                                that our neural renderer requires less data than our viseme retrieval
                                                                                pipeline, allowing us to perform certain edits (e.g., deletion) on
                                                                                shorter videos.

                                                                                5.2   Size of Edit
                                                                                We tested our system with various synthesized phrases. We ran-
                                                                                domly select from a list of “things that smell” and synthesize the
Fig. 11. Our approach enables us to seamlessly compose the modified seg-        phrases into the sentence “I love the smell of X in the morning”
ments back into the original full frame input video sequence, both spatially    (Supplemental W11). We found that phrase length does not directly
as well as temporally. We do this by explicitly conditioning video generation
                                                                                correlate with result quality. Other factors, such as the visemes that
on the re-timed background video.
                                                                                comprise the phrase and phoneme alignment quality influence the
                                                                                final result.
(Supplemental W7). Our system could also be used to easily create
instruction videos with more fine-grained content adaptation for                5.3   Evaluation of Parameter Space Blending
different target audiences, or to create variants of storytelling videos        We evaluate the necessity of our parameter blending strategy by
that are tailored to specific age groups.                                       comparing our approach to a version without the parameter blend-
                                                                                ing (Figure 12 and Supplemental W12). Without our parameter space
5     EVALUATION, ANALYSIS & COMPARISONS                                        blending strategy the results are temporally unstable.
To evaluate our approach we have analyzed the content and size of
the input video data needed to produce good results and we have                 5.4   Comparison to MorphCut
compared our approach to alternative talking-head video synthesis               MorphCut is a tool in Adobe Premiere Pro that is designed to re-
techniques.                                                                     move jump cuts in talking-head videos, such as those introduced by
                                                                                moving or deleting words. It is based on the approach of Berthouzoz
5.1    Size of Input Video                                                      et al. [2012], requires the performer to be relatively still in the video
We performed a qualitative study on the amount of data required for             and cannot synthesize new words. In Figure 13, we compare our
phoneme retrieval. To this end, we iteratively reduced the size of the          approach to MorphCut in the word deletion scenario and find that
used training video. We tested our retrieval approach with 5%, 10%,             our approach is able to successfully remove the jump cut, while
50%, and 100% of the training data (Supplemental W8). More data                 MorphCut fails due to the motion of the head.
leads in general to better performance and visually more pleasing                  We also tried to apply MorphCut to the problem of word addition.
results, but the quality of the results degrade gracefully with the             To this end, we first applied our phoneme/viseme retrieval pipeline
amount of used data. Best results are obtained with the full dataset.           to select suitable frames to compose a new word. Afterwards, we
   We also evaluate the amount of training data required for our                tried to remove the jump cuts between the different phoneme sub-
neural face renderer. Using seq4 (our most challenging sequence),               sequences with MorphCut (Figure 14). While our approach with

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Fig. 13. We compare our approach in the word deletion scenario to Mor-
phCut. MorphCut fails on the second, third, and forth frames shown here
while our approach is able to successfully remove the jump cut. Video credit: The
Mind of The Universe.


                                                                                    Fig. 15. Comparison to the Face2Face [Thies et al. 2016] facial reenactment
                                                                                    approach. Our approach produces high quality results, while the retrieval-
                                                                                    based Face2Face approach exhibits ghosting artifacts and is temporally
                                                                                    unstable. We refer to the supplemental video for more results.



                                                                                    complex articulated motion of lips, e.g., lip rolling, and synthesizes a
                                                                                    more realistic mouth interior. The Face2Face results show ghosting
                                                                                    artifacts and are temporally unstable, while our approach produces
                                                                                    temporally coherent output. We refer to the supplemental video for
                                                                                    more results.

Fig. 14. We tried to stitch retrieved viseme sequences with MorphCut to             5.6   Ablation Study
generate a new word. While our approach with the parameter space blending
                                                                                    We also performed an ablation study to evaluate the new compo-
strategy is able to generate a seamless transition, MorphCut produces a big
                                                                                    nents of our approach (see Figure 16). We perform the study in a
jump of the head between the two frames.
                                                                                    self-reenactment scenario in which we compare our result to the
                                                                                    input frames. To this end we compare our complete approach (Full)
parameter space blending is able to generate seamless transitions,                  with two simplified approaches. The first simplification removes
MorphCut produces big jumps and can not smooth them out.                            both the mouth mask and background conditioning (w\o bg & mask)
                                                                                    from our complete approach, while the second simplification only
5.5       Comparison to Facial Reenactment Techniques                               removes the mouth mask (w\o mask). As shown in Figure 16, all
We compare our facial reenactment backend with a baseline ap-                       components positively contribute to the quality of the results. This
proach that is trained based on the input data as proposed in Deep                  is especially noticeable in the mouth region, where the quality and
Video Portraits [Kim et al. 2018b] (Figure 8). For a fair comparison,               level of detail of the teeth is drastically improved. In addition, we
we trained our recurrent generator network (including the temporal                  also show the result obtained with the Deep Video Portraits (DVP) of
GAN loss, but without our mouth re-weighting mask) with Deep                        Kim et al. [2018a]. We do not investigate alternatives to the RNN in
Video Portraits style input data (diffuse rendering, uv-map, and eye                our ablation study, as Wang et al. [2018a] have already demonstrated
conditioning) and try to regress a realistic output video. Compared                 that RNNs outperform independent per-frame synthesis networks.
to Deep Video Portraits [Kim et al. 2018b], our approach synthesizes
a more detailed mouth region, handles dynamic foregrounds well,                     5.7   User Study
such as for example moving hands and arms, and can better handle                    To quantitatively evaluate the quality of videos generated by our
dynamic background. We attribute this to our mouth re-weighting                     text-based editing system, we performed a web-based user study
mask and explicitly conditioning on the original background and                     with N = 138 participants and collected 2993 individual responses,
body, which simplifies the learning task, and frees up capacity in the              see Table 3. The study includes videos of two different talking heads,
network. Deep Video Portraits struggles with any form of motion                     Set 1 and Set 2, where each set contains 6 different base sentences.
that is not directly correlated to the head, since the head motion                  For each of the base sentences, we recorded a corresponding target
is the only input in their technique. We refer to the supplemental                  sentence in which one or more words are different. We use both the
video for more results.                                                             base and target sentences as ground truth in our user study. Next,
   We also compare our approach to Face2Face [Thies et al. 2016], see               we employed our pipeline to artificially change the base into the
Figure 15. Our neural face rendering approach can better handle the                 target sentences. In total, we obtain 2 × 3 × 6 = 36 video clips.

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Table 3. We performed a user study with N = 138 participants and collected in total 2993 responses to evaluate the quality of our approach. Participants
were asked to respond to the statement “This video clip looks real to me” on a 5-point Likert scale from 1 (strongly disagree) to 5 (strongly agree). We give the
percentage for each score, the average score, and the percentage of cases the video was rated as ‘real’ (a score of 4 or higher). The difference between conditions
is statistically significant (Kruskal-Wallis test, p < 10−30 ). Our results are different from both GT-base and from GT-target (Tukey’s honest significant difference
procedure, p < 10−9 for both tests). This suggests that while our results are often rated as real, they are still not on par with real video.

                                 GT Base Videos                                      GT Target Videos                                 Our Modified Videos
                                 Scores                                               Scores                                             Scores
                  5          4    3       2     1     Σ     ‘real’      5      4       3       2    1     Σ    ‘real’    5      4        3        2   1     Σ     ‘real’
      Set 1     45.3     36.3    7.9   10.0    0.5   4.1    81.6%     47.0    31.9    9.7   10.1   1.4   4.1   78.9%    31.9   25.2     10.9   23.9   8.2   3.5   57.1%
      Set 2     41.6     38.1    9.9   9.2     1.2   4.1    79.7%     45.7    39.8    8.7    5.4   0.4   4.3   85.6%    29.3   32.8     9.4    22.9   5.7   3.9   62.1%
     Mean       43.5     37.2    8.9   9.6     0.9   4.1    80.6%     46.4    35.9    9.2   7.7    0.9   4.2   82.2%    30.6   29.0     10.1   23.4   7.0   3.7   59.6%



                                                                                               6   LIMITATIONS & FUTURE WORK
                                                                                               While we have demonstrated compelling results in many challeng-
                                                                                               ing scenarios, there is room for further improvement and follow-up
                                                                                               work: (1) Our synthesis approach requires a re-timed background
                                                                                               video as input. Re-timing changes the speed of motion, thus eye
                                                                                               blinks and gestures might not perfectly align with the speech any-
                                                                                               more. To reduce this effect, we employ a re-timing region that is
                                                                                               longer than the actual edit, thus modifying more of the original
                                                                                               video footage, with a smaller re-timing factor. For the insertion of
                                                                                               words, this could be tackled by a generative model that is able to
                                                                                               synthesize realistic complete frames that also include new body
                                                                                               motion and a potentially dynamic background. (2) Currently our
Fig. 16. Ablation study comparing ground truth with several versions of our                    phoneme retrieval is agnostic to the mood in which the phoneme
approach: a simplified version without providing the mouth mask and the                        was spoken. This might for example lead to the combination of
background conditioning (w/o bg & mask); a simplified version that provides                    happy and sad segments in the blending. Blending such segments
the background but not the mouth mask (w/o mask); and our complete                             to create a new word can lead to an uncanny result. (3) Our current
approach with all new components (Full). In addition, we show a result
                                                                                               viseme search aims for quality but not speed. We would like to
from the Deep Video Portraits (DVP) of Kim et al. [2018a]. All components
of our approach positively contribute to the quality of the results, and our
                                                                                               explore approximate solutions to the viseme search problem, which
full method outperforms DVP. This is especially noticeable in the hair and                     we believe can allow interactive edit operations. (4) We require
mouth regions.                                                                                 about 1 hour of video to produce the best quality results. To make
                                                                                               our method even more widely applicable, we are investigating ways
                                                                                               to produce better results with less data. Specifically, we are investi-
                                                                                               gating ways to transfer expression parameters across individuals,
   In the study, the video clips were shown one video at a time to                             which will allow us to use one pre-processed dataset for all editing
participants N = 138 in randomized order and they were asked                                   operations. (5) Occlusions of the lower face region, for example by
to respond to the statement “This video clip looks real to me” on                              a moving hand, interfere with our neural face renderer and lead to
a 5-point Likert scale (5-strongly agree, 4-agree, 3-neither agree nor                         synthesis artifacts, since the hand can not be reliably re-rendered.
disagree, 2-disagree, 1-strongly disagree). As shown in Table 3, the                           Tackling this would require to also track and synthesize hand mo-
real ground truth base videos were only rated to be ‘real’ 80.6% of                            tions. Nevertheless, we believe that we demonstrated a large variety
the cases and the real ground truth target videos were only rated                              of compelling text-based editing and synthesis results. In the future,
to be ‘real’ 82.2% of the cases (score of 4 or 5). This shows that the                         end-to-end learning could be used to learn a direct mapping from
participants were already highly alert, given they were told it was a                          text to audio-visual content.
study on the topic of ‘Video Editing’. Our pipeline generated edits
were rated to be ‘real’ 59.6% of the cases, which means that more                              7   CONCLUSION
than half of the participants found those clips convincingly real.                             We presented the first approach that enables text-based editing of
Table 3 also reports the percentage of times each score was given                              talking-head video by modifying the corresponding transcript. As
and the average score per video set. Given the fact that synthesizing                          demonstrated, our approach enables a large variety of edits, such
convincing audio/video content is very challenging, since humans                               as addition, removal, and alteration of words, as well as convincing
are highly tuned to the slightest audio-visual misalignments (espe-                            language translation and full sentence synthesis. We believe our
cially for faces), this evaluation shows that our approach already                             approach is a first important step towards the goal of fully text-based
achieves compelling results in many cases.                                                     editing and synthesis of general audio-visual content.

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   construction from Unconstrained Photo Collections. IEEE Transactions on Pat-               Nießner, and C. Theobalt. 2018. State of the Art on Monocular 3D Face Reconstruc-
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   Agrawala. 2013. Content-based tools for editing audio stories. In Proceedings of the
   26th annual ACM symposium on User interface software and technology. 113–122.
                                                                                          A                                  PHONEME & VISEME CONTENT
Matan Sela, Elad Richardson, and Ron Kimmel. 2017. Unrestricted Facial Geometry           Our matching algorithm (Section 3.3) is designed to find the longest
   Reconstruction Using Image-to-Image Translation. In International Conference on
   Computer Vision (ICCV). 1585–1594. https://doi.org/10.1109/ICCV.2017.175               match between subsequences of phonemes/visemes in the edit and
Jonathan Shen, Ruoming Pang, Ron J Weiss, Mike Schuster, Navdeep Jaitly, Zongheng         the input video. Suppose our input video consists of all the sen-
   Yang, Zhifeng Chen, Yu Zhang, Yuxuan Wang, Rj Skerrv-Ryan, et al. 2018. Natural        tences in the TIMIT corpus [Garofolo et al. 1993], a set that has been
   tts synthesis by conditioning wavenet on mel spectrogram predictions. In ICASSP.
   IEEE, 4779–4783.                                                                       designed to be phonetically rich by acoustic-phonetic reseachers.
Fuhao Shi, Hsiang-Tao Wu, Xin Tong, and Jinxiang Chai. 2014. Automatic Acquisition        Figure 17 plots the probability of finding an exact match anywhere
   of High-fidelity Facial Performances Using Monocular Videos. ACM Transactions
   on Graphics (SIGGRAPH Asia) 33, 6 (November 2014), 222:1–13. https://doi.org/10.
                                                                                          in TIMIT to a phoneme/viseme subsequence of length K ∈ [1, 10].
   1145/2661229.2661290                                                                   Exact matches of more than 4-6 visemes or 3-5 phonemes are rare.
Hijung Valentina Shin, Wilmot Li, and Frédo Durand. 2016. Dynamic Authoring of            This result suggests that even with phonetically rich input video
   Audio with Linked Scripts. In Proc. of UIST. 509–516.
Qianru Sun, Ayush Tewari, Weipeng Xu, Mario Fritz, Christian Theobalt, and Bernt          we cannot expect to find edits consisting of long sequences of
   Schiele. 2018. A Hybrid Model for Identity Obfuscation by Face Replacement. In         phonemes/visemes (e.g. multiword insertions) in the input video
   European Conference on Computer Vision (ECCV).                                         and that our approach of combining shorter subsequences with
Supasorn Suwajanakorn, Steven M. Seitz, and Ira Kemelmacher-Shlizerman. 2017.
   Synthesizing Obama: Learning Lip Sync from Audio. ACM Trans. Graph. 36, 4,             parameter blending is necessary.
   Article 95 (July 2017), 13 pages. https://doi.org/10.1145/3072959.3073640                 Figure 17 also examines the variation in individual viseme in-
Sarah Taylor, Taehwan Kim, Yisong Yue, Moshe Mahler, James Krahe, Anastasio Garcia
   Rodriguez, Jessica Hodgins, and Iain Matthews. 2017. A Deep Learning Approach
                                                                                          stances across the set of 2388 sentences in the TIMIT corpus. We see
   for Generalized Speech Animation. ACM Trans. Graph. 36, 4, Article 93 (July 2017),     that there is variation both between different visemes and within a
   11 pages. https://doi.org/10.1145/3072959.3073699                                      class of visemes. These observations led us to incorporate viseme dis-
Ayush Tewari, Michael Zollhöfer, Florian Bernard, Pablo Garrido, Hyeongwoo Kim,
   Patrick Perez, and Christian Theobalt. 2018a. High-Fidelity Monocular Face Re-         tance and length in our search procedure (Section 3.3) and informed
   construction based on an Unsupervised Model-based Face Autoencoder. IEEE               our blending strategy (Section 3.4).
   Transactions on Pattern Analysis and Machine Intelligence (2018), 1–1. https://doi.
   org/10.1109/TPAMI.2018.2876842
Ayush Tewari, Michael Zollhöfer, Pablo Garrido, Florian Bernard, Hyeongwoo Kim,
                                                                                                                       1.0                                                                0.5
   Patrick Pérez, and Christian Theobalt. 2018b. Self-supervised Multi-level Face Model                                                                      Visemes
                                                                                                                                                             Phonemes
                                                                                          Probability a Match Exists




   Learning for Monocular Reconstruction at over 250 Hz. In The IEEE Conference on
                                                                                                                       0.8                                                                0.4
   Computer Vision and Pattern Recognition (CVPR).
                                                                                                                                                                        Duration (secs)




Ayush Tewari, Michael Zollhöfer, Hyeongwoo Kim, Pablo Garrido, Florian Bernard,                                        0.6                                                                0.3
   Patrick Pérez, and Christian Theobalt. 2017. MoFA: Model-based Deep Convolutional
   Face Autoencoder for Unsupervised Monocular Reconstruction. In ICCV. 3735–3744.                                     0.4                                                                0.2
   https://doi.org/10.1109/ICCV.2017.401
Justus Thies, Michael Zollhöfer, Marc Stamminger, Christian Theobalt, and Matthias                                     0.2                                                                0.1
   Nießner. 2016. Face2Face: Real-Time Face Capture and Reenactment of RGB Videos.
   In Conference on Computer Vision and Pattern Recognition (CVPR). 2387–2395. https:                                  0.0                                                                0.0
                                                                                                                             1   2   3   4   5   6   7   8     9   10                           v11 v10 v02 v16 v13 v12 v14 v07 v05 v09 v06 v03 v04 v15 v01 v08
   //doi.org/10.1109/CVPR.2016.262                                                                                               Query Subsequence Length                                                              Viseme
Anh Tuan Tran, Tal Hassner, Iacopo Masi, and Gerard Medioni. 2017. Regressing Robust
   and Discriminative 3D Morphable Models with a very Deep Neural Network. In             Fig. 17. Left: probability of matching phoneme/viseme subsequences of
   Conference on Computer Vision and Pattern Recognition (CVPR). 1493–1502. https:
   //doi.org/10.1109/CVPR.2017.163
                                                                                          length K ∈ [1, 10] in the TIMIT corpus. To ensure that the query subse-
Anh Truong, Floraine Berthouzoz, Wilmot Li, and Maneesh Agrawala. 2016. Quickcut:         quences reflect the distribution of such sequences in English we employ
   An interactive tool for editing narrated video. In Proc. of UIST. 497–507.             a leave-one-out strategy: we choose a random TIMIT sequence of length
Aäron Van Den Oord, Sander Dieleman, Heiga Zen, Karen Simonyan, Oriol Vinyals,            K, and look for an exact match anywhere in the rest of the dataset. Exact
   Alex Graves, Nal Kalchbrenner, Andrew W Senior, and Koray Kavukcuoglu. 2016.
                                                                                          matches of more than 4-6 vismes and 2-3 phonemes are uncommon. Right:
   WaveNet: A generative model for raw audio. In SSW. 125.
Daniel Vlasic, Matthew Brand, Hanspeter Pfister, and Jovan Popović. 2005. Face Transfer   variation in viseme duration in TIMIT. Different instances of a single viseme
   with Multilinear Models. ACM Transactions on Graphics (SIGGRAPH) 24, 3 (July           vary by up to an order of magnitude. Between different visemes, the median
   2005), 426–433. https://doi.org/10.1145/1073204.1073209                                instance length varies by a factor of five.


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